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United States of America, et al. v. The City of Albuquerque, et al. May 10, 2017
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

14-CV-1025 RB/SMV __ g ne Mey

UNITED STATES OF AMERICA, Ti Tay

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Plaintiff, “PT

VS.

THE CITY OF ALBUQUERQUE,
Defendant.
VS.

THE ALBUQUERQUE POLICE
OFFICERS' ASSOCIATION,

Intervenor.

PUBLIC HEARING
9:07 a.m.
May 10, 2017
Federal Courthouse
Albuquerque, New Mexico

BEFORE: JUDGE ROBERT C. BRACK

REPORTED BY: Deborah E. Trattel, NM CCR #153
TRATTEL COURT REPORTING & VIDEOGRAPHY
P.O. Box 36297
Albuquerque, New Mexico 87110

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MONTFORS:
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C Dr. ‘Ginger |
4 Vie : “Ms. Laurie Owens
5
FOR THE CITY OF ALBUQUERQUE:
6
Ms. Espinoza
7 Assistant Chief Huntsman
City Attorney Ms. Hernandez
8 Judge Garcia
Police Chief Eden
9 Major Tyler
Mr. D'Amato, APOA
10 Ms. Jacobi
Mr. Willoughby \@
11
12 FOR THE GOVERNMENT:
13 Mr. Saucedo
. Mr. Killibrew
14 Ferda
Mr. Sanders
15 Ms. Keegan
Mr. Ryals
16 Ms. Martinez
17
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: ectopic y signed by C Deborah Trattel (301-338- 1207-3060)

 

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24 as I said. Let me kind of lay out for you what the day

25 looks like. We're going to hear from Dr. Ginger to
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1 _. THE COURT: This is United States of America
2 | vs. the City of Albuquerque. We're here for the
3 Monitor's fifth report today. Let me begin by
4 announcing appearances.
5 Dr. Ginger and Ms. Owens; is that correct?
6 MS. OWENS: Yes.
7 THE COURT: Are in the jury box, the Monitor.

8 Ms. Espinoza, the Communication Director for the city is
9 here. Assistant Chief Huntsman, Ms. Hernandez, Judge
10 Garcia, Chief Eden, Major Tyler, Mr. D'Amato is -- there
11 he is. Ms. Jacobi. And I'm not sure who the gentleman

12 there is.

13 MR. WILLOUGHBY: Shaun Willoughby, Albuquerque
14 Police Officers Association.

15 THE COURT: And for the government,

16 Mr. Saucedo, Mr. Killibrew, Mr. Sanders, Ms. Keegan,
17 Mr. Ryals, Ms. Martinez, and I can't read Diana's

18 handwriting. The lady at the back, the table there.

19 Thanks everyone for being here. Sorry we're a
20 little more cramped than usual when we're over at Gold
21 Street. That courtroom wasn't available. We'll just

22 make due. |

23 So we're here for the Monitor's fifth report,

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begin. And at that point, when he concludes, we're
going to break with prior process and hear from the
Amici at that point. We're trying this out a little
differently than we've done in the past. I think I'm
going to ask that the Amici try to keep their comments
to about 15 minutes. That's our goal this morning.

At that point, we'll hear from the government,

with Ms. Martinez and Mr. Saucedo taking the lead, I

think. And then, in sequence, we'll hear from the APOA.

The City of Albuquerque will then comment, and then
Dr. Ginger will close the day with response to the
parties' comments. |

We are getting a little bit of a late start
this morning. We had some technological issues, and
that screen was put up for the benefit of the gallery so
that everyone could see the PowerPoint presentations
that are going to be done this morning. But it's a

visual block for some of you, to see some of the players

and to see me. I assume there are people sitting behind

that screen. I'm sorry. There's a little give and take
there.

And you're free to move about, if you like, to
follow all the action. So we will go until about 10:20
this morning. At that point, we'll take a 20-minute

break. We'll work until noon and then we'll reconvene

igned by Deborah Trattel (301-338-907-3060)

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1 at 1:15. We'll have a 20-minute break somewhere
2 mid-afternoon. We will finish sooner if possible, but
3 no later than 4:30 this afternoon. So that's what the
4 day looks like.
5 Dr. Ginger, glad to hear from you.
6 DR. GINGER: Thank you, your Honor.
7 MS. MARTINEZ: Your Honor, as a housekeeping
8 matter while Dr. Ginger is coming up, I have requested
| 9 that Dr. Ginger and the city provide their PowerPoint to
10 us so that we can make sure that those are made
11 available to the community. So for those that are not
12 able to get a good look through the screen, we will make
13 ‘sure we post those two presentations and make them
14 available that way to the community.
15 THE COURT: Any objection to that process?
16 Have we got copies of the PowerPoints available?
17 MS. HERNANDEZ: No objection to that, your
18 Honor, and we will make them available.
19 THE COURT: Sure. Thanks. Dr. Ginger, let me
20 just make the record that I have -- J have scanned, with
21 great interest, the fifth report. I have not read it —
22 all word for word. I'm just being candid. But I have
23 been through all of it. And I have also read all of the
24 Amici letters and generally brought myself back up to
25 speed, as required.

 

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Diana reminds me that I didn't acknowledge the
presence this morning of the Amici. Let me do that.

Sorry to borrow your time. From APD Forward,

- Mr. Simonson and Ms. Koenigsberg. There they are.

Thank you. Mr. Cubra from the McClendon subclass.

MR. CUBRA: Good morning, Judge.

THE COURT: Good morning. From CPOA and the
Police Oversight Board, Ms. Fine and Mr. Harness. Thank
you all for being here.

And Mr. Miera from the MHRAC. There he is.
Thank you for your -- well, not just for being here this
morning, but for your participation in this process, in
all of your effort.

Now, Dr. Ginger, please.

DR. GINGER: Thank you, your Honor. Given the
nature of the fifth report, I've changed up my process a
bit as well. Usually my reports appear narrative. The
fifth report is a data-intensive report, so we've gone
to PowerPoint, hopefully to aid folks in understanding
what it is that's actually happening, and where we stand
on the trail to compliance.

The graph that probably everybody has seen, I
think it was even in the paper, is a graph of long-term
compliance since Day 1 with this project all the way

from the end of IMR-5. The dark-colored orange bar is

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primary compliance, the next lightest bar is secondary.
compliance, and the lightest bar is operational. Excuse
me. So you get a good thumbnail sketch of where we
stand in the compliance effort.

Just to review, that's reasonably decent
process on policy. We've started moving things through.
We have some tougher policies coming up for the
six-month review period, but we shall get through those
and -- APD is in pretty decent shape on their policy
situation.

Secondary usually relates to training or
on-the-job training or coaching, the sorts of things ©
that an agency will do to make sure that people know
what's expected of them and are able to fulfill those
duties.

And then primary -- I'm sorry, operational is
-- it's part of the day-to-day business routine of the
police agency, that it virtually runs on itself or by
itself without outside assessment and comment. And that
means that APD will continue, to the extent necessary
and proper, to implement the reforms.

That's just so everyone can understand where we
are when we talk about these things. This is the same
slide in data format. The most critical piece of the

CASA is the use of force component and it's up -- as up

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first. Let me explain our methodology, first of all, so
that everyone can understand how we got to these
numbers.

We selected a sample of 16 use-of-force cases.
The complete case, not just the officer's report, not
just the arrest report, but the complete case, including
video and any other supporting documentation. And we
reviewed each of those for compliance with the
requirements of the CASA.

The first piece up is the use of force piece,
and pieces that we're looking at are advisement before
use of force, where possible. It's not always possible.
Sometimes it just has to happen. But that asks for the
police officer to give directions that indicate that,

you know, if you don't calm down, if you don't start -

| listening to what we have to say, we're going to have to

physically put hands on you. And that's required by the
CASA.

Second is deescalation, which is a well known
20 years back, I guess almost, process that police
officers can, if they have the time available, use to
calm the situation down, slow the pace of events, and
try to give the suspect or the arrestee time to
understand his situation, process it and comply.

The third piece is to allow, where time

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1 permits, allow the suspect to submit. It means -- it :
2 may be even just a small break and all of a sudden
3 you're met by some resistance. But where time is
4 available, that should happen.
5 We looked at neck holds, leg sweeps, arm bars,
6 force against handcuffed persons in custody, lawful
7 commands prior to use of force: Stop resisting, turn
8 around, put your hands behind your back, those sorts of
9 things; pointing a firearm; and then inspecting the
10 suspect or arrestee for injuries after the arrest has
11 been made. |
12 Now, the numbers that you see in the right-hand to
13 column are the compliance levels that we found in those
14 16 cases, 16 use-of-force cases that we sampled. So for
15 example, just to help folks read the chart, 81 percent
16 of the time, there was an advisement before use of
17 arrest. That's a good, high solid number, 81 percent.
‘18 It's not 95 percent, which is what we need to see, but
19 it's still a good number.
20 So we took a beat and tried to let the suspect
21 understand he's going to be arrested, there's no sense
22 in making it difficult to do. So 81 percent of the :
23 time. | : @
24 93 percent of the time, which is also a really :
25 good solid number, there was a deescalation involved.

 

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The officer would try to talk down the suspect, would
try to take that one or two beat moment to let the
suspect get his head square, know where he's going,
realize what was happening and not resist.

Allowed to submit. In other words, we don't
just swoop in, apply force immediately unless it's
tactically necessary. 88 as well. Pretty good numbers;
still not in compliance. There were no neck holds this
period. That's a very positive thing. |

The policy was followed a hundred percent of
the time regarding leg sweeps and arm bars. So
obviously that's compliant and a stellar performance on
the part of APD.

Use of force against handcuffed persons in
custody: 64 percent of the time it was done right,
which is a reasonable number, but it shows APD there's
work that needs to be done. Lawful commands prior to
the use of force, a hundred percent of the time, which
is more than a good number, it's excellent.

Pointing a firearm: We found no instances
where a firearm was brandished in the 16 cases that we
looked at; no incidences where a firearm was brandished
or pointed at a suspect in order to get him to surrender
or her to surrender. And then inspections after arrest

for injury, critical piece, 100 percent, good solid

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it number.
2 So you can look at that chart and you can see
3 where APD is doing well, and they are, and you can see
4 where they're doing poorly. And it's a really good aid
5 to see where we're headed, where we are, where we're
6 headed in this process. |
7 Take a look at self-reporting use of force.
8 The policy requires an officer who uses use of force to
9 report it to his superiors. The question is, did we do |
10 it or did we not. 81 percent of the time -- yes, sir.
11 THE COURT: Excuse me. Does this slide and the
12 following slides relate to the 3 of 16 notation?
13 DR. GINGER: Yes, all of these first of
14 introductory slides are the use of force, the 16 cases.
15 THE COURT: You're going to get back to the
16 complete failure of the 3 to 16, you're going to get
17 back to that?
18 DR. GINGER: Yes, sir, eventually. I can pick
19 the pace up if the Court prefers.
20 THE COURT: I'm fine. Just trying to follow.
21 DR. GINGER: I just wanted to try to highlight
22 the fact that it's not that they've ignored what they've
23 been asked to do, it's just they're falling short. We

24 do have some issues, but for the most part, APD has

25 tried to implement the policies and practices that are
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The question is how effective are they. They
need to get to 95 percent. We're at 81 percent of the
primary officers who use force actually report it. Now,
that's a fairly -- that's almost a 20 percent failure
rate. That's fairly significant.

And 75 percent of officers who witness other
officers use force report it as a use of force. So
those numbers are relatively low for the place we are in
this process at this point in time, and we'd like to see
them go up.

Next up is accurately reporting use of force.
That's a paragraph number in parentheses. You can see
if you look down, look down the table, the percent in
compliance. For example, the report includes a reason
for the initial police presence. Officers received a
call to such-and-such an address regarding a breaking
and entry. That's what's asked for there.

That's in there a hundred percent of the time.
Describing and justifying use of force, however, is in

there 69 percent of the time. That's still over

two-thirds, but it's an area where APD needs to improve.

I guess the next one we would want to talk about would
be the -- where did it go?

Here it is. Narratives free of a boilerplate.

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Boilerplate to us is it's sort of the same narrative,
almost a limerick narrative every time that you read a
report. And what these reports need to do is to be
specifically addressed to the nature of the call for
service, the nature of the resistance, and the nature of
force applied, as opposed to cutting and pasting from
old reports and that sort of thing.

So 75 percent of the time they did fine, the
other 25 percent, they need work. So basically anything
in this column that doesn't say 95, there's work yet to
be done. Most of that should have been caught by
supervisors before we caught it and a large chunk of
that wasn't. So had the supervisors caught it, we would
have counted it as a right. But since they didn't, it's
an error.

So I guess the best thing to do is for APD to
police itself, beat us to the punch on these things and

make sure that the supervisors are doing their jobs, and

that the command and the mid-managers are doing theirs.

I'll take each one of those slides in a smaller
chunk at this point and give you some information about
what we found. The accurately reported use of force 12
out of 16 times. We had 16 cases, 16 uses of force. It
was accurately reported, accurately reported 12 of those

times. So we missed 4. Again, 76 percent, it's not

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horrible, but it needs to come up.

 

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They failed to report 4 of 16 noted injuries
based on our review of those 16 cases. That's
problematic. It needs to be a hundred percent. That's
the goal, for obvious reasons. There are civil
liability issues, health issues. That's an important
oversight.

We have a 25 percent error rate in reporting.

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In other words, we saw things that happened in the

—
So

officer's use of force process of reviewing OBRDs, body

—_—
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cams, that wasn't reported in the report. And that's

—
NO

one of the things that we're working with APD right now,

13 is to try to punch up its supervisory presence in the
14 reporting area. And comparing video to what's in the
15 report, that's got to be step one. And until we can get
16. that done, we're going to continue to have problems.
17 Unfortunately, 4 of those got through. None of
18 those were caught by lieutenants or commanders at the
19 command area station review level. So that's an issue
20 for us, because it shows problems in that review process
21 at the supervisory level.
22 Next up is on-body camera activations. The

) 23 requirement is under certain circumstances, all officers
24 have to activate their camera. Our review was to see if
25 that's what's happening during use-of-force events that

 

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1 were reviewed by us using body cam video, and officers’
2 reports after the fact.
3 There were 3 of 16 case -- I'm sorry, there
4 were 4 cases -- there's an error my fault -- 4 of 16
5 cases that that did not happen. And again, it was a
6 hundred percent error rate at the mid-management
7 lieutenant and the command level, where we would find
8 things that had not been noted and placed in the file by
9 command staff, which they are supposed to be reviewing
10 these use-of-force reports. That's concerning to the
11 monitoring team. I'm sure it's concerning to APD and to
12 the Court as well.
13 This next piece I think, as the old saying
14 goes, in the opinion of the Monitor, which is where the
15 rubber meets the road at this point in the process, and
16 that's supervisory review and investigation of officer
17 use of force. If we can fix this, we can fix a huge
18. chunk.
19 And I'd like to remind the Court, we sampled 16
20 cases, we found 4 to be problematic in multiple areas.
| 21 So it's not like this is intentional, but what it is is
22 a failure of supervision and management to find it and
23 correct it. And until we can get that done, we're not
24 going to go anywhere, we're going to be back in the
25 Court every six months making presentations.
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So to me, this is the piece that's most
critical. And we've had conversations with APD since
day one about the necessary focus on supervisory
process. Again, we studied 16 events. We found 2 of
those 16 events that were handled properly all the way
through. So 2 out of 16, a hundred percent.

The sergeants did what they did, they noted
things that the officer may have left out of his or her
report; the lieutenant did what he or she was supposed
to do; if the sergeant missed something, the lieutenant
called him on it; and the command staff did the same
thing.

We saw that in two places, so that means
they're doing it. All we need to do is grow it and make

sure they're doing it everywhere. I thought that was a

good finding. I mean, the raw numbers are not good, but

there is process in place, and there are supervisors and
lieutenants reviewing use of-force reports the way they
are expected to do it.

Another requirement is random and directed

audits. And in my experience as a Monitor, and in my

experience as a police officer, that's the best way to
change practice, is to have something in place that gets
command level personnel, supervisory level personnel

involved in what's going on in the field, and taking a

igned by Deborah Trattel (301-338-907-3060)

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1 _. look at video, reading police reports, and going, "Wait .

 

a minute, that's not what the policy says. So here I've
got a problem. How am I going to deal with Officer
- Ginger because he made this mistake?"

There's a whole level of things they can do.

This is their police department. If they think a verbal

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Q We don't want to dictate to them what they have to do.

7

8 warning on a relatively innocuous error is enough, so be
9

it, we won't question that. If it's a very serious

10 transgression, a verbal warning probably won't make it,

11 but you know, if it's rationalized and the management :

12 reports about why we did X instead of Y, we read those i @
13 and we listen to what they have to say, because as we

14 say, it is their shop.

15 The problem is, we didn't see any evidence of |

16 random directed audits. Now, we saw supervisors take a
17 look at reports and catch things, but from an overall

18 standpoint, we found, in effect, no -- none is a bad

19 statement. We found ineffective review of use of force
20 from an audit standpoint, which is getting, on the left-
21 hand side of the sheet, the list of all the things that

22 needs to be done at.a certain type of a use-of-force
23 incident, and on the right side of the sheet, a space : @
24 for a narrative that says completed, not completed, and |

25 why you think it's not completed, so that those can be
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kicked upstairs to train.

Because that's the next step. If we're not
doing what we need to do in the field, even though we've
already had training -- and they have -- if we're not —
doing what they're doing in the field, if we continue to
see a wide range of officers making the same mistake,
that calls for retraining.

So it may be just a three-hour course on
handcuffing, or notice, or whatever it might be. But
that's a critical piece. And we haven't found anything
in the record that that's happening yet. I understand
it's under development. And we encourage APD to push
forward with that.

Excuse me, your Honor. APD should be engaging
in a system of random and directed audits. I tend to
prefer random, because it tends to come through every
time. But it's their shop, they need to do it the way
they want. They could do both. They could do only
random, or they could do more routinized about it. But
at this time, there's some serious difficulties with
those audit processes.

If you've read the report, you know we found
substantial difficulties with those 16 use-of-force
cases. The problem, as we see it at APD at this point

is that that disconnect is not being followed up the

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1 chain of command, so that the area commander understands .
2 wow, I had X instances of officers that were using force
3 against handcuffed individuals. This is hypothetical.
4 Not making any claims, just as an example.
5 Can I do a video? Can I get the use of force
6 sergeant to come out to the area command and do a
7 two-hour course? What can I do? Looking for patterns
8 is job one for management.
9 And we have a substantial number of automated
10 information systems that are either in place or being
11 put in place to help them with that. And when those
12 come online that might improve their performance, but at
13 this stage, it's certainly suboptimal.
14 The CASA articulates three different types of
15 audit processes APD should be engaged in. We found in
16 the written record that we reviewed, we found no
17 evidence that that was happening, and I think it's an
18 important next step. If it's not being planned already,
19 it probably should.
20 I'd like to move, if I can, your Honor, from
21 sergeant level to lieutenant and command level. Those
22 are the folks that basically run the area stations.
23 Command oversight requires commanders and lieutenants to
24 review and document errors in use of force in the field,
25 and for the cases of commanders to do exactly the same

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1 thing for their sergeants who may have missed something
2 that the commander caught. |
3 So there's a multiple tier, or should be a
4 multiple tier level of review. And if APD falls short
5 anywhere, it falls short here. And quite frankly, the
6 numbers we saw were really concerning. But I'll caution
7 everybody to remember those were 16 cases. Some of
8 those cases were that thick, so there's a lot of good
9 information in them, and we feel it's better -- it's
10 better for APD, for us to mine that data as carefully as
11 possible, so that as early as possible, we can catch

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events that are preventable, or that we can train out of |

 

13 the system, or that we can supervise out of the system,
14 or that we can discipline out of the system.
15 So I think that's the next great spot for APD
16 to focus, is to get their sergeants in the right
17 mindset, with the right tools, to get their command
18 level entities to the point that they need to know, or
19 that they know they know what they need to look at when
20 they read a sergeant's investigation of use of force,
21 and the types of things they need to keep close track
22 on. |
@ 23 One of the things we've noted in this report
24 that is really concerning to us, the entire monitoring
25 team, is that the disconnect between what we expect of

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lL our lieutenants and our commanders seems to be.

remarkably high at this point in time. A lot of the
failures that we note in this report sit at that level,
and those are the two most critical levels.

Anyone who's ever worked a police department

decides what days off you can take off your overtime is

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6 knows that the fellow who decides, or the woman who
,

8 your sergeant. You've got to have those guys involved.
9

Next up are the lieutenants and the commanders who need

10 to be sure that the sergeants are supposed to be doing

il what they are supposed to be doing. We found some

12 pretty substantial shortcuts there. : | ®@
13 We found that to be effective, that command
14 level review to be effective 6 percent of the time. In

15 other words, they do catch stuff, but it's not pervasive

16 yet. So what we need to do is figure out what those --

17 it may be one commander, from the look of the numbers,

18 but what that one commander knows and does that

19 everybody else needs to be doing, use him or her as an

20 example and get that pushed down into deeper levels of

21 the department.

22 Failure rate on taking corrective action on the

23 cases that we looked at, at the command level, between | @
24 the time the case was processed and the time we looked

25 at the records, the failure rate was 19 percent, with 81

 

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_ percent compliance. I don't mean to say that APD is

purposefully not doing its job. That's not my point at
all. But we have a failure rate that's, in some cases,
remarkably high.

We need to figure out what causes it. We need
to figure out if it's a training issue, if it's a
commitment issue, if it's an ability issue, and we need
to get that fixed. That would be job one, from my
perspective. |

But 19 percent of the time at command level
really concerns me. It concerns me a great deal. Talk
now about another piece of the oversight process, and
that's the Force Review Board. We have reviewed dozens
of cases that go through FRB to make sure that they're
doing what the CASA specifies them to do.

We're looking for the following things:
Complete, timely and accurate reporting and decision
making on use of force; ordering further investigations
when it's appropriate; using an appropriate standard of
evidence. For us, it's preponderance of the evidence.
We don't need to have enough evidence to convict people,
we need to have a reasonable certainty that something is
afoot and needs to be fixed.

I think the FRB needs to make absolutely

certain that it forwards notice to the chief when they

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1 find anything related to use of force that is not in
2 compliance with the policy, so that the chief has, to
3 the extent possible, day to day touch with what is it in
4 use of force that we need to be driving home to our
5 commanders, our lieutenants, our sergeants and our
6 patrol officers. What is it?
7 And the Force Review Board is ideally designed
8 to do that. We will have some comments about success
9 rates a little bit later. And then finally identifying
10 training issues, policy issues, equipment issues,
11 tactical concerns and other things that are more
12 organizational-wide as opposed to officer-wide and
13 making sure that that information gets out to the
14 various command levels and the upper management
15 structure of the police department so that they know
‘16 they have a picture.
17 We had 16 cases. Out of those 16 cases, 12 of
18 them failed. What's the most prominent failure reason?
19 All right. Here it is. How can we fix it? Well, we
20 could retrain everybody; we could put out a special
21. order. You know, there are a whole host of different
22 things that can be done, but you have to know it's an
23 issue first. And that's what Force Review Board, I
24 think, is best suited for. -
25 So, you know, the whole list of the things they

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need to look at for each one of these incidences is at

 

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the very bottom of that slide, of the next slide, I'm

sorry. My bad. Identify training, policy, equipment,

tactical concerns and refer them for remedial action.
Now, sometimes that referral has to be

upstairs. I mean, but it's a chief's executive suite

issue. It's not really a command issue. It may involve

budget, it may involve staffing, it may involve any

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number of things that an area commander can't fix. But

—
So

in a lot of cases, it will involve things an area

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commander and a few good sergeants can fix. If we're

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No

going to go anywhere, that's where we need to go with

13 the Force Review Board.

14 ' Requirements in the CASA for Force Review Board

15 are as follows: Document findings of receipt of

16 investigations within 15 days. In other words, we got

17 it, we know what it's about, we know what the complaint

18 is, and we've received it. It's in the hopper to be

19 processed.

20 What we found with the Force Review Board. The

21 next five statements. They complied with all the

22 requirements of the CASA 25 percent of the time. That's
@ 23 remarkably low for an administrative oversight board.

24 Now let me say, having said that, it's still a

25 relatively new process, it's not been there very long,

 

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1 and I think the folks that run that board, the folks

 

that appear on that board are still sort of feeling
their way.
So it would behoove APD, if they haven't done

so already, to talk with other agencies who have been

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6 through similar processes: ‘New Orleans, Seattle, folks
7 who are a little bit ahead of where they are because

8 they have been working longer. Find out how they do
9 this. The way they do it in New Orleans, not all that

10 great, but the way they do it in Seattle is if you could

11 just tweak and change a few things, we'd be doing a fine

12 job. ©
13 But overall, 25 percent compliance rate for a

14 Force Review Board process concerns us, concerns us a

15 great deal.

16. Sample completed investigations, we found that

17 effective 33 percent of the time. Ordering more

18 investigation when needed. Again, 33 percent of the

19 time success rate. Using the preponderance of the

20 evidence standard. That's a law enforcement staple for
21 30 years. Preponderance of the evidence is a standard

22 that needs to be used. And yet, we find a 50 percent
23 rate there. It's concerning. @
24 ' And in referring violations to the chief. We |

25 also find the Force Review Board should be making
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1 recommendations if there is a need for new equipment, a
2 need for new training, or if there are tactical issues
3 that come to fore -- come to the fore during their
4 investigations.
5 This is sort of the quality control mechanism.
6 It was designed to be the quality control mechanism for
7 APD. We're two years in, almost exactly two years in,
8 and we're at 25 percent on that. So it's concerning.
9 Document your findings in a written report; 25
10 percent effective. We found some critical issues with
11 Force Review Board. We'll get into those in a second.

—
bo

But if they don't document their findings and push it up

13 to the chief so that it can be analyzed and pushed back
14 down, for example, to training, or to the area

15 commanders, if that's where the problem needs to be
16 fixed, we're just in a circle. You will never fix

17 anything. .

18 So what needs to be done is when you start

19 seeing these data, you need to find out where are our
20 problems. Our problems are in these 15 areas. In those
21 15 areas, which ones are the top three. Those three

22 _ right there. How do we fix it? Try to fix it, run it

23 for six months. Does it work? Great. It's fixed.

24 Rates are down. What's the next three?

25 Eventually, you get to where you're in really
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1. decent shape on all your compliance issues. So overall
2 compliance at Force Review Board stood at 34 percent.
3 We'll round it up. 33.5.
4: Take a look at the actual work of the Force
5 Review Board. We reviewed seven cases that were
6 processed by the Force Review Board in 2016 and 2017.
7 The average time to complete was 34 weeks. And that's
8 way too long.
9 Now, it's a new board. We have to understand
10 that. But 34 weeks is a long, long time to have
11 information on what might be a critical incident that :
12 hasn't been assessed yet. Two of the events took 12 , @
- 13 months to resolve and get out. One was completed in |
14 four months, which is a lot closer to something we would
15 consider timely.
16 One of the things that -- and we'll deal with
17 APD on this in June when we come back for the next site
18 visit. We saw a lot of members of the Force Review
19 Board, as many as a dozen of them, use a decision not to
20° comment on what they had reviewed. And we don't know
21 why that is. We don't know why that is. We're going to
22 find out.
23 But if you were running that Force Review :  )
24 Board, that would be of grave concern to me.

25 Particularly if it turned out the things that they
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‘weren't commenting on turned out to be problematic. If |

they're not commenting because they don't feel they have
the skills to do so, that's one thing. So you either
train them up or you can replace them.

But if there's an event that obviously is
problematic, and they're declining to comment on it,
that's a grave concern to the monitoring team. Probably
some of the most important stuff they'll have to work
through.

Enough said on that, I think. T'm going to
shift gears a little bit and give the Court an
assessment of the overall quality of the entire
oversight system. We'll choose to do that with numbers
from those same 16 cases that we talked about, the
use-of-force cases that we went completely through and
analyzed from point | to point 82, to make sure that
they were handled properly.

Let's see if I can -- that's in the report. I
don't think it is in here. Hang on one second. I'm
sorry. If you want to know where these data came from,
it's Table 4.7.191 in the Monitor's -- this Monitor's
report. And the finding is 87 percent of the time the
system fails. Now, that, to me, is a shocking number.
You know, we're two years in and we still have an 87

percent failure rate.

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1 _ It's concerning, but it's fixable. It's
2 fixable by all those things we just talked about. It's
3 fixable by the recommendations that we just made in this
4 last Monitor's report. It's fixable by permanent,
5 focused, critical oversight of use of force.
6 And I mean, that should come from different
7 levels. It should come from the supervisory level, it
8 should come from the management level, it should come
9 from the executive management level, and it should come
10 from the Force Review Board.
11 When we get to the point that the Force Review
12 Board is putting out reports that talk about trends and
13 use of force that are problematic to the command
14 | structure, and those are then read by lieutenants and
15 sergeants, and there's something done in the field,
16 that's when we started making progress.
17 You know, we can write reports all day long.
18 APD can do studies all day long. Until that information
19 gets down into the sergeants’ pockets, we're not going
20 to go anywhere, and that's the critical piece of this.
21 I mentioned earlier 2 of those 16 cases passed
22 — muster.a hundred percent, at least 95 percent. There
23 may be an odd error or two, but they were well done. 8
24 ~_ of the 16, or actually it's 14, because 2 of them were
25 okay, were 33 percent effective. One 66 percent _

 

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1 effective. And we already talked about the 2 that were |
2 95 percent or higher effective.
3 But that's a substantial failure rate, in my
4 mind, for an agency that has a board in place to answer
5 these questions. And you know, if you were asked for a
6 reason for it, it goes back to that decline to vote
7 process. A lot of these cases, the FRB produces to us
8 and we review are -- many of the cases that they produce
9 to us and we review are pretty clear and convincing
10 evidence that there's retraining that needs to be done,
1] or there's supervision that needs to be done, or there's
@ 12 discipline that needs to be taken. And it concerns us.
13 We'll track that down, we'll find out what's going on.
14 That's on our agenda for the next site visit.
15 The final note on Force Review Board is that it
16 seems to be even less effective oversight in mid and
17 upper management level support review and comment than
18 we would have ever expected. And it's new. I give APD
19 that. I understand that. It's a cumbersome process. I
20 understand that as well. But that doesn't mean that
21 they don't need to get results.
22 So I think the Force Review Board and the Force
@ 23 Oversight System is the place where they need to be
24 spending their time in training, supervision, management
25 and command. And if they can, you know, a hundred
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id percent, 88.9 percent, whatever it takes, but it's got
2 to be the big piece. I think we'll start to see some
3 progress. And we have seen progress. I don't mean to
4 intimate that we haven't. I'm surprised that we're at
5 this stage at this part of the game, but that doesn't
6 mean we can't accelerate.
7 Just to give you a little bit of an idea about
8 why the monitoring team is so concerned, these are the
9 different levels of review at APD, and their
10 effectiveness rates are the last column, second column.
11 So you can see, we have problems in supervision,
12. command, executives and systems.
13 For example, the EIRS system was shut down for
14 a long period of time without the Monitor even knowing
15 about it. That's a systems issue. It's critical. I

16 know APD has reasons for it, but you know, nobody
17 bothered to talk with the monitoring team to say, "Hey,
18 we're having these issues, what do you think we should
19 do with it?"

20 I would have felt a lot better about it if it

21 hadn't just been shut down. But in any event, my

22 systems levels, that's what I'm talking about, the

23 routine review of OBRD's, the routine review of EIRS
24 systems triggers that sort of thing. Obviously, there's

25 great room for improvement there.
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Now, just so it's not all darkness and gloom, _
we noticed a lot of things that APD is doing well. And
by the way, those are in the report. As I said, when I
interviewed for this job, if I see a mistake, I'll call
ita mistake. IfI seea success, I'll call ita
success. These are they.

If you look at this, it's significant amount of
work. I don't mean to intimate or suggest, by any
stretch of the imagination, that APD has been not
diligent. There's a lot of work that went into this
stuff. It's done, it's reasonably well done, and it's
working reasonably well.

What we haven't done is tackle use of force
yet, and as the Court knows, that's the main reason
we're here, is use of force. They reduced their span of
control for sergeants to 8 to 1. At one time it was up
in some cases over 12 to 1, depending on who got sick.
So that's a substantial achievement. And I know it
wasn't easy. It's hard to grow a sergeant.

They have excellent -- they could use it as ©
state of the art for the field -- electronic control
weapons, policies, training and procedures. Absolutely.
Some of the best we've ever seen. So another kudo to
APD.

The Behavioral Sciences Unit has been engaged
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1 almost from day one. They have some. new personnel on

 

over there who are doing a crackerjack job. That's .
another bright spot for APD. MHRAC is hitting its
stride. There's still work to be done there in terms of

getting unfiltered information to APD through MHRAC and

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6 getting APD to assess it, understand it, deal with it,

7 work with it. But that's a success. It's working.

8 There is give and take going back and forth.

9 I think it's just going to be a matter of time
10 until that -- that's another one of the really bright
11 shining star of this process, is MHRAC. The Crisis
12 Intervention Unit has developed a scenario in case-based | @
13 training modality that, again, is probably one of the
14 best I've seen in the country. So kudos to APD for
15 that. Really a nice job on it. Particularly what we

16 had to worry with before, which I -- hopefully this new

17 process will clear up.
18 _ COAST and CIU are integrating regular contact
19 with individuals known to need help with an aggressive

20 campaign to get them to at least think about going to

| 21 get that help. So that's another bright spot.

22 Policy development and process is -- there are

23 some cases where it's done extremely well; some cases @
24 when it's very problematic; and right now all of the

25 easy stuff is done. The low hanging free fruit is done,
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it's been picked, it's been harvested. It has been
chopped up into little pieces and marketed. But the
critical stuff, the use of force, multiple repetitive .
violations of the same policy by a given officer, or set
of officers, those things have lagged behind.

And I mentioned it in the report. We're
getting significant push back on some policies, use of
force, on body recording devices and the early
intervention systems. Those are up. We have a new
policy to the Monitor up for review right now on use of
force. And we have one on EIRS as well. And OBRD is on
the way.

So those will be coming back. Most of those
are in resolution mode, which basically means I've got.
to put the language in there that I'll live with. We
should be able to move forward with that.

Training is another bright spot for APD. We've
spent -- as a team, we've spent a substantial amount of
time out there, and I think if you read the last couple
of reports, you know that we value that training

process. The ability for those folks to do what they do

with the resources they have is good. It's really a

good process.
Now, we have training issues. For example, use

of force, for example, on body recording devices, for

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example, ERIS. But the training that goes into basic,
the training that goes into lateral injury, the training
that goes into OJT, the standard routine daily, or
monthly, or weekly, or whatever it is training,
reasonably well done, reasonably well presented, and I
think we're starting to see results in the field.

One videotape -- I can't remember, I apologize,
your Honor, but I can't remember if it was this
reporting period or the previous, we came upon evidence
of two officers talking about what should have been
done, and it just happened to get caught. But it was a
good example. Well, you know, we could have, maybe we
should have.

And we encourage that kind of kind of thought
at the Academy. I think that's where that came from. I
think they trained it. So that's a bright spot out
there. I think it was a good system.

And the technical systems in Internal Affairs
are up and running reasonably well. We're getting
access to our data fairly and efficiently. Most of the
stuff that should be in it is in it. So the technical
systems are there.

Where we're falling down is on the hard work,
which is looking somebody in the eye and saying, "I

don't like what you did here because it was wrong for

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1 these three reasons. Get up to speed."

 

It's difficult, nobody likes to do it, but
unfortunately, it's a job that has to be done at APD or

we're not going to make the changes that we need.

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5 That's all I have, your Honor, unless you have _
6 questions.

7 THE COURT: I have some. I'll save them,

8 actually. So thank you. Thanks very much.

9 DR. GINGER: Yes, sir.

10 THE COURT: I've misplaced my agenda. Who's up
11 on the Amici? There we go. Thank you. Mr. Cubra, I
@ 12 think you're first up. As Mr. Cubra approaches the

13 podium, I'd ask that the city take good notes as we're

14 hearing from the Amici, because as I've read the

15 letters, I know that they have several specific concerns
16 and at some point, I'm going to ask the city to respond
17 to those concerns individually, and give me some sort of
18 written report and action plan over the next 30 days.

19 So please follow along.

20 Mr. Cubra?

21 MR. CUBRA: Thank you very much, Judge, as

22 always. I really appreciate you making this opportunity
@ 23 for me to speak on behalf of my clients. Excuse me. To
24 remind you, there are roughly 8,000 individuals who get
25 arrested by the Albuquerque Police Department and booked

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1 ~ into our jail annually who have mental or developmental

disabilities. Those are the people I represent in the
McClendon case.
And with respect to the McClendon case, I just

wanted to quickly say that I told you in the past that

several matters. And we have happily reached a

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6 we had a pending motion against the city with respect to
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8 settlement agreement, Judge. It is subject to

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presentation to Judge Parker for preliminary approval,

10 then a fairness hearing, because it's a class action,

11 | and then ultimately, we hope that the Court will approve

12 that settlement agreement. And I'll just say that | @
13 there's one particularly important piece that is |

14. hopefully going to make your job easier here.
15 The city is agreeing that they will, going
16 forward over the next year or so, collaborate in good

17 faith with the city -- excuse me, with the County of

18 Bernalillo, to improve and increase behavioral health

19 services that hopefully will reduce the numbers of

20 encounters between law enforcement and the people I

21 represent.

22 And so, that agreement was reached in a way

23 that we've agreed that between now and next summer of @
24 '18, the city will continuously meet with the county and

25 try and find ways to collaborate and hopefully
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contribute financially toward more and better behavioral __

 

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health services, which would reduce our overutilization
of law enforcement to respond to people in a mental
health crisis.

And because I know that you have read my March
16 letter, I'm not going to reiterate anything there.
I'm trying to be mindful of our time limit today. I

will just say this: That on March 30, after I sent our

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March 16 letter to the city, I had a very collaborative

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meeting with quite a few city officials and with

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representatives from the United States Attorneys’

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office. And we discussed the matters raised in my

13 letter with one exception.

14 The first point in our letter at the top of the

15 second page relates to the mayor's announcement last

16 fall that he was going to undertake a 14-point

17 initiative to reduce crime in the city, and the lawyers

18 for the city declined to discuss that, saying that they

19 don't see a nexus.

20 And in the interest of time, I'll just say

21 this: That in our view, it is in fact the city policy

22 about what to do about crime that is one of the major
@ 23 reasons why we've had in the past so many episodes of

24 unnecessary force. And I continue to believe that the

25 city does have its law enforcement officials approach

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and apprehend individuals who are impoverished, perhaps .

homeless, oftentimes having a mental disability, as a
government expression of power in order to keep those
people out of sight and to not have them bother the rest
of us.
So I do believe actually that the city's

policies directly relate to how many episodes of
excessive force occur in this city. Nonetheless, I
don't really know what the city's current plan is with
respect to their 14 initiatives to reduce crime.

I will then say this. That one of the points
in our letter, I discussed with you last time and you
followed up with the city about it, it was that somebody
at the city issued a written report that said some
people in the police department think there's an
underuse of force. And I said to you that I continued
to believe that that kind of attitude and that
communication to all APD employees undercuts this
initiative that we're all here to try and support.

And so, I did ask yet again who authorized the
distribution of that report so that police officers
would read it. I still do not know. And it's my
understanding that neither does your Monitor. And so it
would be good to know who has taken it upon themselves

to say to law enforcement officials they're not using

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force enough early enough or often enough, because I
think it undercuts our entire premise.

Now, I do want to talk about this aspect of the
fifth report because we focus on the needs of people

with mental disorders. The report talks about several

things. And the paragraphs with respect to our special -

interests that I want to mention are paragraph 120. The
Monitor has found that there is training in place that
quote, "Will provide clear guidance as to when an
officer may detain an individual solely because of his
or her crisis and refer them for further services when
needed."

And I will say this, and this is sort of the
ultimate theme. From my experience in system reform
cases, that is our biggest problem here. That while 93
percent of the policies that have been adopted under
this consent decree are now acceptable to the Monitor.
So we have primary compliance, 93 percent.

That really is only the starting line for this
race. If you don't have written rules that are
adequate, nothing else happens. And so, we now at the
two-year mark have policies, you know, in about 7
percent of the areas. But in fact, this particular
policy referenced at paragraph 120, it's not being

followed.

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1 Law enforcement officials continue to use our
2 jail as the place to take people because the police
3 officers believe that the individual needs mental health
4 treatment. And as recently as January, at an APD
5 meeting that I attended, a sergeant who was assigned to
6 be there for the police department to talk about when do
7 you arrest people if there's an allegation of domestic
8 violence, that sergeant explicitly said taking people to
9 the mental health center, that doesn't work.
10 And so it is routine for us to take people to
11 the jail because we know they have treatment there and
12. we know that they can't walk away from there. And so in
13 my view of it, even though the training has been found
14 to be in place, in fact, the training is not being
15 followed.
16 So in interviewing law enforcement officers,
17 we've come to realize that some of them do not
18 understand what is an objective basis for taking a
19 person to a mental health treatment or evaluation
20 facility under the state mental health code, and that
21 they don't comply with that.
22 So next. I want to mention that Paragraph 136
23 does in fact require the specialized CIU detectives who
24 are full time working for people with mental disorders,
25 and the COAST team, they are required to make referrals

 

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to Community Health Resources when appropriate. There
is not a finding of compliance yet with respect to that.

And so, we'll see as their reporting processes
unfold, whether in fact even the specialists are showing
the necessary skills and the appropriate implementation
of the rules with respect to getting people into
treatment instead of incarceration.

Now, I want to say this, Judge. That it was
very helpful that within the last year the city decided
to do what the consent decree required them to do, which
was designate specialists among law enforcement
officials who will be the go-to people who you try and
dispatch through the radio and get them to the scene of
behavioral crises in other cases where it's obvious the
person's mental disabilities are the cause of the
encounter.

But really, it took over two years after the
agreement was reached for them to get on to the right
path. Because remember, for a period of time, they were
saying to you and to the Monitor, "Well, we've trained
everybody, so everybody's a specialist." But that was
pointed out to them to not be what they agreed to, and
SO we were very slow getting under way. |

But now we have begun, and the report says as

to Paragraphs 123 and 124, that as of the end of the

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1 _ . reporting period, there were 71 individuals who have now
2 been trained to be the specialist so that the radio
3 dispatchers can say, "I need an enhanced CIT officer to
4 go to this scene, a specialist."
5 And the APD's calculus is that they're going to
6 need to get to 40 percent, which is what the consent
7 decree requires, that they'll need 180. And the city's
8 own report, based on their most recent data, is that
9 they now have 80, 9 more than is in the Monitor's report
10 because of the passage of time. So we're still less F
11 than 50 percent of the way there to having enhanced CIT
12 officers. | | td
13 The other staffing problem identified at
14 Paragraphs 123 and 124 has to do with the CIU
15 detectives, the Crisis Intervention Unit. These are
16 specialists, plain clothes officers, and all they do is
17 try and work with people who have had law enforcement
18 encounters to 1), clean up the mess after the encounter;
19 and 2), go and check on them to avoid a future
20 encounter, and see if they can encourage them into
21 treatment.
22 As I've said to you, we don't think that's |
23 legitimate for armed law enforcement officials to be )

24 doing that. We think mental health professionals should
25 be doing that. But I will say this: That the officers

 

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who are those detectives, I know many of them, respect
them, think that they're good people and have some good
skills, but we're still only at 7.

_ The consent decree requires 12. You raised
this with the APD last time we were together. And since
that time, I'm told by Assistant Chief Huntsman that
they've agreed to increase the rate of rolling those

people out and their projection is, under their most

hopeful scenario, by November of this year, they hope to ©

get up to the 12 that they had promised to get into
place. | |

Here's one problem. The specialized field —
service officers who are supposed to be enhanced CIT
officers, we seem to be slowing down on the tempo of
getting them to volunteer. And so because these
specialists must serve as volunteers by the terms of the
consent decree, I questioned line officers, some union
representatives, and the leaders of the department about
this, and here's what I've been told.

Decades ago, when we created a CIT program for
officers. An inducement to get people then to volunteer
was that they were told they would get $50 a month if
they took on this special assignment with extra
responsibilities.

Well, here we are, decades later, and it's

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still $50 a month. And I fear that the plan that the
Monitor says the city must have in order to get the
adequate complement of officers is not going to be
successful if we continue to reward these people at the
rate of 25 cents an hour to take on these extra
responsibilities. So I think we have a problem with
getting enhanced CIT officers in sufficient numbers to
comply with the court order.

So those are the comments I wanted to refer to
with specificity with respect to those paragraphs, those
provisions in the consent decree, but now I want to turn
to the overall points in the report this way.

If you heard what I heard, we should both be
worried, because what I think I just heard the Monitor

say is what we haven't done is tackle use of force.

Well, I thought that's why we were here. And what seems

to me evident is that the leaders of the department are
not in fact going to get this job done.
And so, here's the way that I look at it. The

things that have been accomplished now, at the two-year

mark after you approved the consent decree, all of those |

were promised to be done by now, and everything else was

promised to be done by now. The city set for itself a
two-year timeline to achieve a hundred percent of the

requirements in the consent decree.

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1 According to this report, 47 percent of those _
2 promised things have been accomplished at the
3 operational level. 53 percent of them are undone when
4 we reach their own target date. 87 percent failure rate
5 until we respond appropriately to use of force is what
6 Dr. Ginger just said to us.
7 And so, we are very, very far from where we
8 need to be, and I can tell you that based on decades of
9 experience and system reform cases, we've just gotten to
10 the moment that the hard work starts. So we have
11 policies. The hard part is always getting them

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implemented.

13 And so training them out, and then having the

14 people who approve the policies enforce them, that's the
15 only way you ever get systems changed. Remember, the
16 culture of violence, the culture of violence doesn't get
17 undercut or eliminated unless the leaders of the

18 organization give clear, consistent and persistent

19 leadership. And that's just not been happening.

20 In other system reform cases that I've worked

21 in, cases oftentimes stall out at this juncture. In the

22 Jackson case that Judge Parker works in, the department
23 there reached 70 percent compliance in 2000 and here we

24 are today. And we're at the 80 percent range.
25 And so the hard work is just beginning, and

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al there are some very problematic things that have been [

going on. And that makes me very pessimistic. As we
talked about last time, there's been active resistance.
This notion of under use of force.

During my meeting on March 31, members of the

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6 Force Review Board explicitly said to me they continue

7 to believe not enough force is being used and it's not

8 being used early enough. And that's what they're

9 | telling the cops who we are trying to get them to change
10 their behavior.
11 There's also several things in the last report

12 of the Monitor, and this report that shows that the | @

13 leaders of this department, people sitting in this room

14 are undercutting this initiative by denying force

15 actually occurs when it occurs. The use of the term

16 "distraction strike," that's a hit in the head.

17 Sometimes -- we talked last time about a poor fellow who

18 got -- he's down on the ground, and they kneed him in
19 the head and he needed stitches, and at the highest
20 level of the department, they said, "Well, that's not

21 even use of force."

22 And so, when that's the leadership's message to

23 the law enforcement officials who are supposed to be )
24 changing their behavior, we have a huge problem on our

25 hands. I would call this active resistance. And yet,
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the problems that we're facing are such that the

 

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department is also being passively resistant.

According to the report, there has been this |
unfolding. During the process of reviewing the policy -
analysis office's meeting minutes, the monitoring team
learned that there was an APD Special Order 1675, which
unilaterally, without notice to or approval by the

monitoring parties, changed the required review rate

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for sergeants from two per month, per sergeant, to two

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reviews per the entire squad, per month.

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_ And when the monitoring team asked for a copy

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of this special order, which can only be issued by the

13 chief of police, we were told it doesn't exist and that

14 we must be mistaken.

15 And so the monitoring team forwarded a copy of
16 the meeting minutes to the department, and asked for the
17 memo, and they still don't have it. Now, this kind of

18 behavior calls into question whether we're ever going to
19 get where we need to go.

20 And then, the last thing that I wanted to say

21 is that the problem is that the department is still

22 taking issue publicly with the Monitor's findings. In

23 the May 2 article in the Albuquerque Journal, where

24 there's a report about what the report said, and

25 Dr. Ginger's report said, "There seems to be: no one |

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1 person, unit or group with responsibility and command
2 authority to make change happen, and that there's been a
3 palpable shift in the police department's approach to
4 changes," the city's attorneys said, "I'm not sure why
5 he would say that."
6 It is sort of interesting to see the contrast
7 between his narrative, as opposed to just the raw
8 compliance findings. And so, we are still trying to
9 kill the messenger, and that's bad news.

10 But here's my hopeful note. October 3 of 2017

11 is when the city will have an election. And October 3

12 of 2017 is when someone else will be chosen, and then on _ | @
13 December 1 of 2017 there will be a new mayor. And many |

14 of us anticipate that because it almost always happens,

15 that there will be a new police chief.

16 And so six months from now, when we come back
17 to see you next time, we will find out who is going to
18 ~~ bein charge of this show, and we'll find out if those

19 people bring a fresh approach to this. Because those

20 are the people who either will or will not achieve

21 substantial compliance with the consent decree.

22 And I'm very hopeful that the next city

23 administration will pull all of their oars in the same | )
24 direction and achieve substantial compliance. And so I

25 do hope, Judge, that you'll just keep riding this horse,
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because we're in this for a long haul. .

THE COURT: Thank you, Mr. Cubra.

Ladies and Gentlemen: We're going to take a
break, 20 minutes. We'll be back and we'll, at that
time, hear from Mr. Simonson and Ms. Koenigsberg.

(Recess taken from 10:19 to 10:40 a.m.) .

THE COURT: Ms. Koenigsberg? Who's up?

MS. KOENIGSBERG: Mr. Simonson will go first
and I'll be second. |

THE COURT: That will be great.

Mr. Simonson?

MR. SIMONSON: Good morning, your Honor. Peter
Simonson for the ACLU of New Mexico, here on behalf of
APD Forward. I want to thank you for this opportunity
to address you today on behalf of APD Forward. Our
coalition appreciates the opportunity to have a stake in
the conversation, the discussion that we're having
today, and to continually voice their opinions about the
reform process.

I just have two brief items that I wanted to
raise with you this morning, and then Nancy also had an
additional item on behalf of APD Forward that she wanted
to discuss. |

So first item, APD Forward wants to add their

voice to the concerns that have been raised by the

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1 Police Oversight Board regarding the chief's responses
2 to the officer disciplinary recommendations. Three
3 members of the APD Forward steering committee actually
4 sat on the City Task Force, which proposed changes to
5 the Albuquerque ordinance regarding the Citizen/Police
6 Oversight Agency. And they were involved in the reform
7 effort all through the process. |
8 The task force explicitly asked for language in
9 that ordinance that would require the chief not only to
10 respond with a decision of concurrence or
11 nonconcurrence, but also to explain in writing if he did
12 not concur with a disciplinary recommendation, why that
13 was.
14 And we asked for that requirement so that the
15 Police Oversight Board and the public could make an
16 independent determination of whether or not the chief's
17 decisions were being made on an arbitrary basis or were
18 based on sound reasoning. |
19 And in light of Dr. Ginger's findings, that
20 command and supervisory staff regularly overlook,
21 minimize or rationalize out-of-policy behavior.
22 Regarding the use of force in particular, APD Forward
23 thinks that this requirement of the chief continues to
24 be imperative.
25 We raised this issue in our March 30 meeting
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with the parties. We were told that the POB and the

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department were in discussion about how to ensure that
the chief continues to comply with the ordinance. We
have not yet been informed about the outcome of those
discussions, but it is an issue that's of great
importance to us.

Second, the members of APD Forward were, I will

say, very pleased to read in the fifth Monitor's report

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that APD has made significant headway in policies,

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training and practices around the use of electronic ©

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control weapons, and that the department has

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substantively improved its CIT training.

13 However, we were quite alarmed by Dr. Ginger's
14 description of, and I use quotes here, "deliberate
15 indifference and deliberate noncompliance by APD
16 supervisors and command level staff."
17 It seems incredible to our coalition that APD's
18 leadership would refuse to remove neck holds in
19 particular from the department's use of force policy | -
20 when the CASA requires that in quotes again, "APD shall
21 explicitly prohibit neck holds except where lethal force
22 is authorized."
@ 23 Lest we forget, Eric Garner, one of the most
24 widely publicized victims of police excessive use of
25 force in recent years, died from a neck hold applied

 

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1 from a New York City police officer. 11 times he cried,
2 "I can't breathe" before suffocating to death. And yet,
3 APD leadership insists on authorizing the routine use of
4 this violent technique.
5 The members of APD Forward wonder if we aren't
6 now reaching the end of APD's rope. Has the leadership
7 gone as far as it's willing to go with reform? Yes, we
8 have seen improvements in special tactical units, in the
9 deployment of electronic control weapons, and in CIT,
10 but for multiple reports now we have been reading that
11 supervisory and command staff persist in minimizing,
12 rationalizing and ignoring even the most obvious
13 violations of use of force policy.
14 This is the heart of reform. Without a working
15 system of accountability, all of the other reforms that
16 APD has to put in place will eventually collapse. We
17 can all celebrate the fact that the rate of officer
18 involved shootings has dropped, but at this moment, APD
19 has no reliable system of accountability, no safety net
20 to ensure that those trends won't one day return as
21 fiercely as they did before.
22 As Dr. Ginger noted in his report, it continues
23 to appear that this monitoring team is the only systemic
24 overseer of on-street activity of APD's officers. APD
25 Forward has enlisted the assistance of a data scientist
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to conduct a finer analysis of APD's compliance in the
most critical areas of reform like the use of Force
Review Board, the Critical Incident Review Team, and the
Use of Force Investigations and Reporting.

The initial results from that analysis suggest
to us that we are not nearly as far long as the primary
compliance rate cited in Dr. Ginger's report would
suggest. I mean, we would be happy to share the
analyses with the Court and with the parties.

Finally, let me note. We had intended to
discuss an Albuquerque Journal story regarding several
instances in which APD leadership criticized local
judges and media for problems within the department.

The city asked us that we refrain from raising
that issue here in today's hearing. And so we have
actually set up a separate meeting to discuss that issue
with the city and with the parties. But I will note
that the issue was raised in our letter, and we raised
it because we felt like the issue goes straight to the
heart of questions around APD leadership and their
continued support of reform.

So I'll stop there, and I'll invite -- with
your permission, I'll invite Nancy to come up and add a
further point.

THE COURT: Yes, sir. I'm just interested on |

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1 how that dialogue on the last point came about. Your

letter referenced those comments?
MR. SIMONSON: Yes.
~THE COURT: Did the city reach out to you at

that point, after receiving your letter, and ask that

MR. SIMONSON: Yes, your Honor. In an e-mail

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6 you refrain from discussing that today?
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8 conversation that took place between myself and the
9

parties, all of the parties, they had seen our letter

10 and raised the particular issue. I tried to explain

11 that we saw this issue as germane to the question of APD

12 leadership accepting responsibility for issues that it td
13 was responsible for, like the questions that have caused

14 this reform process.

15 We were told that because the issue hadn't --

16 they hadn't actually had an opportunity to fully review
17 that part of our letter, that they would prefer to

18 discuss that independently in a meeting between the
19 parties.
20 | THE COURT: Thank you. Ms. Koenigsberg? Or is

21 it Koenigsberg?

22 MS. KOENIGSBERG: Thank you. Appreciate it.
23 THE COURT: Of course. @
24 MS. KOENIGSBERG: Your Honor, Counsel Nancy

25 Koenigsberg from Disability Rights New Mexico and we're
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a member of the APD Forward coalition. I'm going to
expand a little bit on the use of force comments as it
relates to the CIU.

APD Forward continues to Monitor the data about
use of force when it involves individuals with mental
illness and other disabilities. As everyone likely
knows, two of the coalition members are parents of men
with mental illness who were shot and killed, so it's of
particular interest to APD Forward.

So we're watching the data closely. In our APD
Forward's March 24, 2016 letter to the Court, we
commented upon the city's fifth self report in which it
mentions the APD CIU data book. And this is a little
background to the three points that I wanted to bring to
the Court's attention. |

So the data book seems to be a compilation of
several different PowerPoints that took place prior to
October of 2016. And this relates to Paragraph 129 of
the CASA, which lists the type of data that CIU was
supposed to collect when it encounters somebody in
crisis, or mental illness, or other disability.

And we believe the data, use of force,is
collected under Subparagraph G, which says "techniques
or equipment used." So the data book is where this —

information is to be compiled.

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1. The data book is in fact on the MHRAC, the. .
Mental Health Response Advisory Committee, subpart of
the police department's website. So you have to
navigate to get there, but it's findable. And the last
date again of that data book is October 5, 2016.

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6 So to my points, one of the questions we had is
7 it's not clear if the types of force tracked in the data
8 book includes all of the possible types of use of force
9 | discussed in the Monitor's report No. 5.
10 — For example, page 67 of the data book says it's
11 tracking Taser use, handcuffs and OC, which I understand

12. is pepper spray.

13 Page 160 of that same data book lists the

14 _—‘ Taser, use of foam, projectiles and canine; and page 35
15 talks about passive restraints and bean bags.

16 So when it comes to use of force in these

17 incidents, given the number of kinds of use of force,

18 it's hard to know what that label means and what it

19 includes. And since data is so critical at this point

20 in time, we thought it was important to point that out.

21 We don't know whether the things that have been

22 called distraction strikes, the leg sweeps, pushes and |
23 shoves have been used when the CIU encounters people in
24 the field. Again, because it's not identified as a use

25 of force, it's hard to know if that's tracked in the

 

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1 data.
2 I believe the behavioral health training, which
3 has been discussed, is markedly improving, likely
4 minimizes these kind of uses of force. But, however,
5 for accuracy's sake, I think it should be more
6 particularly identified in the CIU data book.
7 The second major point is the data book itself
8 is not complete. On page 84, for example, of the data
9 book, it shows a graph of use of force CIU incidents
10 from January to April of 2016. And each month has three
11 bars within the section to describe the use of force. A

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yes and a no, and a report in progress.

13 So in particular, January had -- '16 had 224

14 encounters with no use of force, which is great; lisa

15 yes, and 4 with a report in progress.

16 March was 177 encounters with no use of force,

17 which is again good. 1 yes; and 56 reports in progress.

18 April had 172 nos. There were no yesses recorded, so I
19 would assume that meant none. And there were 34 reports
20 in progress.

21 So we don't know how these other incidents,

22 excuse me, that were reports in progress were resolved.

23 I have not seen anything on the APD on that website that |

24 follows through on that. And this relates to -- it's a

25 related point. The MHRAC web page does not contain
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1 __ up-to-date data.

2 The last agenda posted is for September 2016,

3 and the last set of minutes is dated July 19, 2016. |

4 Regarding use of force data in that time, the January

5 2016 minutes, not actual data given out, but statements

6 reported in the minutes, said that there was one use of

7 a bean bag, and one Tasing in the CIU encounter with

8 people with behavioral health issues.

9 February 2016, there's no data reported. March
10 2016, no data reported. April 2016, there were no uses
11 of force reported by CIU, but it was reported in the
12 minutes that Field Services' use of force in the ~
13 behavioral call was used, but it doesn't say what type.
14 And then I think, importantly, the May of 2016
15 minutes said data will be distributed on the MHRAC
16 website. I looked at the website again this morning
17 just to make sure. I'm not seeing any more up-to-date
18 data there. Maybe it is, but I just was not able to
19 find it.

20 I think what's important here are a few things.
21.‘ That as Dr. Ginger said, that the drill down right now
22 for the Monitor is data, so we want the data to be

23 accurate, we want it to be complete, and we want it to
24 be current. |

25 So that's foremost. I'd also think it's

 

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1 important, since in last year's reports, there were
2 significant numbers of reports in progress about CIU
3 encounters with individuals in behavioral health crisis.
4 So we don't know how those resolved, whether there were
5 additional uses of force or not. And it would be good
6 to have that updated.
7 I know there is a person on APD staff now whose
8 whole focus is the data compilation, so it seems like
9 that should be possible. I also think it's really
10 important, given the discussion today, that there should
11 be a clear definition of what use in force includes,

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since as I read, there are many different things that

13 were identified as potential use of force, or uses of
14 force, but the whole title, we don't know what all the
15 individual possibilities are in there, and which
16 particular uses of force are used at any one time, which
17 I think is helpful as we're trying to minimize the
18 number of contacts of people with individuals with
19 mental illness between the police, and that if they are
20 -- if those encounters are happening, then minimizing
21 the use of force. So knowing the specifics I think is
22 really helpful.

) 23 In addition, as promised a year ago May, that
24 the report on use of force would be provided monthly to

25 the Mental Health Response Advisory Committee and posted
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1. onthe website. That's where the public can see this :

information.
One final comment, your Honor, is we read in

the paper, I think it was last week, that Deputy Chief

Health Services Unit has been promoted. And he has been
a staunch supporter of the development of improved CIU

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5 Garcia, who's been overseeing the CIU and Behavioral
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8 and CIT training, and has facilitated the enhanced CIT
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officer component.
10 He's also worked to develop more knowledge
11 about people with developmental disabilities and autism, |
12 and wants to include that in the training in the CIU \ : @
13 training. So his support has been invaluable, and we're

14 hoping the promotion is going to be helpful

15 department-wide. I think it's important to note that

16 the person who will be taking his place, as I understand
17 it, from the report in the paper, is Shane Rodgers,

18 who's the brother of the former CIU contract

19 psychologist Troy Rodgers.

20 And we are hoping that he will provide the same

21 level of support that Deputy Chief Garcia has shown, and

22 that we will maintain the level of training that's been |
23 developed since Dr. Rodgers has left. @
24 So in closing, I think data is important. I

25 think accuracy and timeliness of data is important,
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especially when it comes to involvement of CIU with.
people with mental illness and crisis and other
disability. We look forward to seeing that data updated
and constantly reported.

Thank you, your Honor.

THE COURT: Yes, ma'am. Thank you. And
congratulations to the deputy chief on his promotion.
Ms. Fine and Mr. Harness.

MR. HARNESS: Good morning, your Honor. My
name is Edward Harness. I'm the executive director of
the Civilian Police Oversight Agency for the City of
Albuquerque. With me is Joanne Fine, the chairman of
the Police Oversight Board. Thank you for this
opportunity to address some of the concerns that we
have. And again, thank you for the designation of being
a stakeholder so that we have the opportunity to address
the Court.

First, let me say that there are not a harder

working group of volunteers then the members of the POB.

There's also not a more tenacious group. They will

continue to fight to get APD to acknowledge and

cooperate with civilian police oversight in Albuquerque.
Your Honor, we presented to the Court two

letters drafted right after the conclusion of the

monitoring period. The first letter expressed some of

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1. our overall concerns; the second was expressly regarding
2 concems with APD's Office of Policy Analysis. As you
3 are aware, the independent review officer and the Police
4 Oversight Commission were found by the Department of
5 Justice to be too closely aligned with APD.
6 That's the genesis of the Police Oversight
7 Board and the CPOA being formed. We strive every day to
8 maintain our independence and to meet our duty to the
9 community. Transparency and accountability to the

10 citizens of Albuquerque are at the heart of the

11 settlement agreement reached between the parties.

12 The Albuquerque Police Department serves at the ©
13 behest of its citizens. Therefore, the citizens of |

14 Albuquerque must have a voice in how the department

15 comports itself while policing its citizens. In other

16 words, the citizens must have a say in how policies are

17 developed, implemented, and how APD officers are held

18 accountable.

19 The settlement agreement, along with city

20 ordinances, envisions the Police Oversight Board as the
21 citizens' conduit to transparency and accountability.

22 It is well documented APD wrote the 37 policies related

23 to the CASA without input from the Police Oversight @
24 Board.
25 It is our position that this was in direct

 

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1 violation of Paragraph 288 of the CASA, which states,
2 "The agencies shall make recommendations to the chief
3 regarding APD policy and training. APD shall submit all
4 changes to policy related to this agreement, i.e., use
5 of force, specialized units, crisis intervention,
6 civilian complaints, supervision, discipline and
7 community engagement to the agency for review, and the
8 agency shall report any concerns it may have to the
9 chief regarding policy changes."

10 The agency in this case, the POB, attempted to

11 provide a solution to APD by recommending a change to

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the policy development policy 3-29. That recommendation

13 went to the chief on October 13 of 2016. The POB's
14 recommendation was to insert itself into the policy

15 development flow chart. The chief rejected that

16 recommendation.

17 I'm happy to report, though, as a result of

18 negotiations prior to this status conference, I believe
19 we've reached an agreement to give the POB an

20 opportunity to review policy changes and to come into
21 compliance with Paragraph 288.

22 In our second letter to the Court, we expressed
23 our concerns about the Office of Policy Analysis. OPA

24 is purported to be the quote, "think tank," unquote.

25 The place where relevant data, best practices, Risk
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Management, field experience, supervisor experience,
legal concerns and stakeholder input are all supposed to
come together to create policy.

I am a voting member of OPA and I can assure
you that none of that is happening. What is happening
is OPA meets biweekly -- I'm sorry, yes, biweekly. The
policy under consideration is already drafted with
changes. In addition, the policy presented for me to
review may have other changes when actually presented to
the meeting.

Occasionally a department designated subject
matter expert, or the drafter of the policy, usually a
sergeant or lieutenant, might be there to go through the
policy with the attendees.

I use the word "attendee" intentionally. The
only consistent attendees are the members of POB and
CPOA. Other previously appointed APD participants may
or may not be there. To phrase it properly, attendance
at this prestigious portion of the process has been
sparse. APD's presentation of this process to the
public is akin to a bait and switch.

Last week, I attended the International
Association of Chiefs and Police Legal Advisors
conference. In the section regarding policy

development, most agreed you cannot have a successful

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police department if your front-line supervisors and

 

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middle managers, lieutenants, are writing and developing
your policies. Sergeants and lieutenants can't be
dictating how your department comports itself.

IMR-5 correctly assessed the chief's failures
to report his nonconcurrence to the POB. I am happy to
report the chief has begun to respond and explain why he

disagrees with the findings of the board. The public

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deserves to know where the chief stands on these issues.

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So

Let me point out a few examples. No. 1)

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I-16915, the most recent officer involved shooting

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reviewed by the board. The board recommended a

13 suspension for an officer that accidentally fired his

14 weapon. That accidental discharge resulted in an

15 innocent victim being struck in the neck with a bullet.
16 The board also recommended the on SANE supervisor
17 sergeant be investigated for an improper search. The
18 chief in his nonconcurrence letter goes into great

19 detail as to why the search was proper.

20 During this discussion, he states quote, "The

21 suspect had no expectation of privacy," unquote.

22 That should be self-evident. If the suspect

23 had an expectation of privacy in the residence, there

24 would be no burglary. And that's why that subject was

25 arrested. In addition, the officer will receive a
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1 written reprimand for shooting an innocent man in the
2 neck.
3 No. 2, in my role as the executive director, I
4 make disciplinary recommendations. In order to do that,
5 I must review the officer's disciplinary history. In a
6 recent check of an officer's disciplinary history, an
7 officer received a verbal reprimand for accidentally
8 discharging his weapon while conducting quote, "a press
9 check" unquote, prior to reporting for duty.

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That round went through his kitchen window and
11 into his neighbor's home. By definition, that is

12 Negligent Use of a Deadly Weapon, New Mexico stats
13 30-7-4 (A) (1).

14 I acknowledge peace officers are exempt from
15 criminal liability while performing their lawful duties.
16 An argument can be made that he was not performing

17 lawful duties. However, civil liability still applies.

 

18 The officer received a verbal reprimand..

19 No. 3. I'm sorry. Let me go back. Asa

20 result of discovering this, the board is going to take

21 up in its discussion in this next meeting a

22 recommendation that the Force Review Board also review

23 all accidental discharges of weapons, which occurs in

24 other jurisdictions.

25 No. 3: CPC No. 131-16: The board recommended
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_ alengthy suspension for an officer having an

extramarital affair with his supervisor from the real

Time crime center, a loss prevention worker at a

- Wal-Mart, while on overtime. And being untruthful to

the civilian/police oversight agency investigator.
Some of the evidence in the case was reviewed

by the -- was a video reviewed by the investigator that

_the complainant refused to turn over. The chief agreed

on the findings of the misconduct, but would not find

the officer untruthful because he had not reviewed the
video. The untruthfulness was in the officer's recorded ,
statement contained in the investigatory file.

No. 4: CPC 139-16. The board recommended a
suspension for officers arresting two suspects on felony
warrants. The arrests ultimately took place at a needle
exchange van. The -- I'm sorry. The investigation
revealed the officers failed to use the department's
arrest warrant risk assessment. The chief exonerated
the officer stating, quote, "At no time were the
suspects barricaded," unquote.

The risk assessment matrix is a tool to help
officers operate safely. The risk assessment states if
a score of 25 or higher is assessed to the subject of

the warrant, contact SWAT for assistance in executing

the warrant.

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1 A cursory review of the matrix showed a score
2 of 65 for each of these subjects. In conclusion, let me
3 state that we concur with the Monitor's assessment
4 regarding the lack of accountability with APD.
5 Unfortunately, the chief sets that standard, and it
6 filters down to the rest of the department. If it
7 Please the Court, I introduce Chair Fine.
8 THE COURT: Mr. Harness, just a moment. You
9 indicated that the chief was now responding, which was a
10 new development that we had gone for some time that he
| 1 was not responding as the POB believed he should. When
12 did that happen? When did this change occur?
13 MR. HARNESS: The changes occurred over the
14 last 60 days. So we have received nonconcurrence
15 ~__ letters with explanation for the last 60 days.
16 THE COURT: All right. So this was an issue at
17 an earlier meeting of ours, and it persisted in this
18 fifth report from the Monitor. But within 60 days, now,
19 you're saying we've got some response?
20 MR. HARNESS: That's correct, your Honor.
21 THE COURT: Thank you.
22 _ Ms. Fine.
23 MS. FINE: Again, I'm J oanne Fine. I'm the
24 chair of the Police Oversight Board. Good morning, your
25 Honor. I'm grateful to have the opportunity to address

 

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1 the Court on these matters which are so very important
2 to the people of Albuquerque. I believe the Monitor's
3 current report is an accurate assessment of what has and
4 has not transpired in the reporting period.
5 As it relates to civilian oversight, the
6 obstructionist, dismissive and often disrespectful
7 behavior by APD leaders dates back to the beginning of
8 our volunteer term over two years ago. It would seem
9 the parties, except for APD, are in some agreement that
10 APD is not interested in and certainly not committed to
11 reform.
@ 12 As a community member, I do not expect fast
13 reform. I did expect more significant reform this far
14 into the journey. 27 months in, the civilian oversight
15 process is still trying to secure a meaningful place for

16 our board in the APD policy process, a promise that has

17 recently been made, but again, not yet realized.

18 We are still awaiting for a reasonable amount

19 of time as a board to review serious use of force in

20 officer involved shooting cases, and still be within the

21 discipline time frames established by the APD union

22 contract.

@ 23 We are still stymied by a lack of data either
24 because it is surprisingly not collected at all, or
25 because not much of it is retrievable or easily

 

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accessible, or so we have been told. We have been
patient. We are extremely frustrated.

There is an old adage says that "There is
always time for the things at the top of your list." At
this point, I am nearly certain civilian oversight,
civilian input, civilian concerns are not on any list
for APD leaders, let alone near the top.

Your Honor, I close with two questions for your
consideration at a time of your choosing. I have been
told APD cannot reach compliance with the CASA without
meaningful civilian input. I would like to know if you
agree with that, sir.

Secondly, I would like to know, on behalf of
the people who live here, what range of tools the Court
has at its disposal to encourage or demand that APD meet
its obligations of the CASA. What happens if APD
leadership continues to drag its feet and obstruct this
process? Thank you. |

THE COURT: Well, with regard to your first
question, yes. And with regard to the second, I began
the day by saying I wanted the city to take particular
heed to what was said by the Amici, because within 30
days, I'm going to have an action plan presented from
the city to address each of your specific points. And

we'll see if that tool at my disposal causes any change.

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ol And I'll keep you posted.
2 MS. FINE: Well, I was encouraged by, and we
3 all feel hopeful that change will come at some point. I
4 don't think the community should have to wait until
5 October for that to happen. So I'm looking forward to
6 what the powers that be, in this circumstance, can do to
7 make change happen at a more reasonable pace and at a
8 higher quality.
9 THE COURT: Thank you, Ms. Fine.
10 Mr. Miera?
1] MR. MIERA: Good morning, your Honor. Thank

—
No

you for hearing the MHRAC's report today. We talk about

13 MHRAC a lot. I think there are some individuals that

14 are not familiar with what MHRAC is, Mental Health

15 Resource Advisory Council. And as such, your Honor, we

16 meet monthly.

17 These are individuals who are volunteer --

18 voluntarily coming to this monthly meeting. I think

19 it's notable to talk about the meeting, because we

20 usually have at least 90 percent rate of the individuals

21 who are on that board, and there are many of us, up to

22 20 at any one particular time. Sometimes mostly a _
@ 23 hundred percent attendance is normal.

24 Individuals that sit on that board come from a

25 __— variety of different resources, opportunities given to

 

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1. the committee, and many are individuals with mental |
illness themselves and are part of the board.
The police department is there all the time.
We have a great presence. And they respond to questions

when asked, and we're very proud. I think Nancy made a

always there and responsible. That captain,

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6 good statement regarding one of the individuals who was
7
8 unfortunately, is being promoted.

9

We're probably going to miss him very much,

10 because we've had great interactions during the meeting
11 and after the meeting. We have subcommittee meetings
12 that meet as well on other time periods, and those

13 subcommittees give an important amount of the detailed
14 information that we need at the regular committee

15 meetings to be able to make some decisions.

16 Your Honor, I think as Peter Cubra stated

17 earlier, MHRAC has been working well with other related

18 programs and agencies outside of APD, and your Honor, I
19 think this is important. Because as you can well
20 imagine, mental health is a big organization in and of

21 itself, whether at the University of New Mexico, at
22 the -- unfortunately, at the Metropolitan Detention
23 Center, or out in the community.

24 But as such, we had some changes with regards

25 to the funding through the county. We had some
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1 individuals who brought forth an idea that we should be

2 able to spend another 1/8 cents sales tax. That went

3 forward and then had that opportunity to do that. Those

4 new monies, about $20 million, have a significant impact

5 on what happens within the mental health in this

6 particular community, and then to impact MHRAC. I'll

7 talk about that a little later on.

8 I think what's most important is there are

9 other agencies, even within the Metropolitan Detention
10 Center, that are also looking at what impact -- whatever
11 they're doing there has an impact on the community. And

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I think MHRAC sits in the middle being able to pick up

13 what it is that was asked of us by the CASA guidelines.

14 And we try to meet those guidelines as much as possible.

15 That being said, I think it was important, it

16 was maybe briefly talked about -- you heard the mobile

17 crisis team that is available right now, within the

18 facilities of APD, those are individuals who are well

19 trained and will be responding to individuals with

20 mental health problems in their communities, in their

21 homes, if necessary, which is not an unusual situation.

22 But as we try to move more forward to seeing if we can
| @ 23 keep them out of the detention facility, out of the

24 Bernalillo County mental health center facility, in and

25 of itself.
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1 _. These are individuals that are trained to

 

de-escalate and hopefully help these individuals not
have to attend either one of those particular
organizations.

_ That being said, I think it's important, is

time with regards to the mobile crisis teams. And so,

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4

5

6 that that is police-driven at the particular point in

7

8 there are opportunities in the future, with maybe even
9

to a different type of team that's going to want

10 individuals who are not related to the police

11 | department, and may be able to help that community

12 engagement teams' individuals who will be able to go | : @
13 out.

14 All of these have been looked at by MHRAC ina

15 limited basis, and I say that because those other

16 individuals are responsible, other teams, other places

17 are responsible for putting all that together. I think

18 as we look at the overall issues with regards to mental

19 health, there's an awful lot out there, but I appreciate

20 the time that the individuals who are working with MHRAC

21 have given us to be able to have this kind of

22 conversation.
23 It's not the best. We sometimes will miss )
24 that. But those individuals will come and speak to our |

25 particular MHRAC meetings. We do whatever we possibly
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1 can. MHRAC is open to the public. As of this date, we
2 have yet had anybody have any complaints about their
3 inability to come and speak to us or inability to want |
4 to listen to them. We have open mic times and it's
5 utilized frequently that individuals don't feel like
6 they don't have a problem with their ability to talk to
7 the MHRAC.
8 As I move on to talk about maybe some other
9 issues that -- and these are small issues, because I say
10 small in terms of the impact that they may have is not
11 small. But the smallnesses that we've talked about this
rd 12 before, and it's a little above and beyond MHRAC's
13 opportunity to take a look at changing that. That is
14 pretty much the information sharing subcommittee that we
. 15 have that has brought forth an awful lot of |
16 opportunities to say what should we do now with what
17 information that we have.
18 We're talking specifically now about lapel
19 cameras. As we look at individuals who have mental
20 health issues and the conflict between what the camera
21 picks up and what individuals have with regards to
22 having whether it's HIPPA, and the individuals, which
@ 23 would be under the mobile crisis teams, or the community
24 engagement teams, these are professionals that are going
25 to go out and interact with individuals.

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1 Do they become their clients at that particular
2 point in time, which then HIPPA rules may or may not
3 appear or be of significance. Or, police officers who
4 have a lapel camera on, that unfortunately the rules and
5 regulations, as we have them right now, say as you think
6 you're going to be individually coming into a contact
7 with a person who has mental illness, you have to turn
8 on that camera.
9 Does that camera become public information for
10 anybody else who wants to see that? So there's an awful
11 lot too that we haven't resolved. I bring this. I |
12 brought this before. You remember that we brought this rd
13 -before. We bring this, at the Court to say we're going
14 to need some support as this thing moves on and as more
15 and more people go out of the way of getting into
16 situations where maybe just police officers are involved
17 with individuals with mental health issues, but people
18 going into their homes, etc. So we may need some more
19 support on that particular issue, legal support,
20 _— otherwise as well. |
21 Your Honor, I think I again want to go back to
22 what Nancy talked about before. And I think it's
23 important, my final issue, and our revolving door issue | @
24 with you, your Honor, is that we need some

25 administrative support for MHRAC.

 

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As I mentioned, these are people that are

 

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volunteering their time, and as such, we don't have the
capabilities to have a professional secretary or
whatever else. It may seem minor to you, your Honor,
but I tell you, if we're going to be able to keep up

with what Nancy talked about, putting things in, getting
them on the Internet, etc., etc., these are important

issues to us. And as we get deeper and deeper into some

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of these issues, we're going to need some of the support

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that individuals are giving of their time.

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I just hate to ask them, "Would you please go

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home and do this extra set of stuff," that maybe a good

13 administrative secretary could do. We're to the point
14 right now where I'm afraid, as was reported here

15 earlier, we don't have some of these where they should
16 be. Needless to say, all the minutes have been taken
17 and they're all related. They're all available to you

18 right now.

19 Where as I'm sure we wouldn't have gotten, as
20 Mr. Ginger said, we are the -- I shouldn't have to look
21 it up, but we are the shining star on this particular

22 issue. We feel comfortable to be able to hear that

23 comment. But we want to be better than that. We want

24 to be able to be more than that. And as such, we're

25 going to need that support staff. And we've asked for

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_ . it, there's been talk about it, we've moved towards it.

It just doesn't happen yet. It's a small part.

I'm hoping maybe it can be resolved by tomorrow

morning. If that's the case, we don't have it today.

We'd like very much to have that. Because as was

stated, data is useful. And the only way we're going to

be able to capture that data and change the meetings

like we have been -- in fact, we changed meetings to
come out and talk to MHRAC and vice versa. Individuals
can hear from MHRAC. Those are the smaller issues that
make it the bigger issues, make MHRAC not the shining
star today, but in the future, your Honor.

THE COURT: Mr. Miera, Ms. Koenigsberg did say
that the data on your website was out of date. You're
acknowledging that, I guess.

MR. MIERA: On the website, Iam. But we have
the minutes. And everybody that's on MHRAC gets those
minutes. We get them in e-mail sent to us, to all
individually. You know, somebody just posting those
things where they should be on a timely basis and all
the information that we receive at MHRAC. Because we
get a lot of information that comes to the meetings.

That too, whatever the information that has been brought
to by a variety of different individuals, that should be

posted on.

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__ We just haven't had that kind of flow of |

 

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information as we did. So we would like to be able to
do that. If we could have a professional secretary, not
just a part-time one, a full-time one, I think we could
keep them busy. But we'll take what we can, your Honor.
THE COURT: Thank you. Thanks very much for
your volunteering and congratulations on that shining
star.
MR. MIERA: Thank you, your Honor.

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THE COURT: Ms. Hernandez, two particular

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issues there I'd like you to address later in your

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comment, or with your action plan within 30 days. This

13 issue of the automatic use of the audio cam when you
14 encounter someone that's suffering from a disability,
15 that's an issue that has persisted. I'd like to put
16 that to bed.
17 And whether and to what extent you can assist
18 with administrative support for MHRAC, I'd hear you on
19 those things today or within 30 days. Thank you. I
20 think that concludes the remarks from the Amici.
21 Mr. Saucedo or Ms. Martinez, who's got the ball
22 for the government?

@ 23 MS. MARTINEZ: Elizabeth Martinez.
24 Good morning, your Honor. May it please the

 

25 Court, Counsel for the City, Albuquerque Police
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1 Department, and the Police Officers Association,

2 Dr. Ginger, colleagues from the Department of Justice,
3 members of the Albuquerque community: We are gathered
4 again for the fifth time to discuss the progress that
5 the City of Albuquerque and the Albuquerque Police
6 Department have been making towards implementing the
7 reforms in the CASA.
8 My colleague, Luis Saucedo, will be addressing
@ that progress on behalf of the United States in a
10 substantive manner. But before he does that, I would
11 like to take a few minutes to make some comment on
12 behalf of acting U.S. Attorney James Tierney, who
13 regrets that he could not be here this morning.
14 Before doing that, I would like to comment,
15 because I noticed that the Court responded and also the
16 Court's clerk when Mr. Harness indicated that there were
17 two letters from POB and CPOA. I filed one letter and I
18 think there was a misunderstanding between me and
19 Mr. Harness. I had inquired whether he expected both
20 letters to be filed, and I misunderstood. I only filed
21 one.
22 So immediately after we conclude today's
23 hearing, I will make sure that you get that second

24 letter. I am aware that all of the parties and

25 Dr. Ginger did receive that letter, and that second

 

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letter is the one that addresses the Office of Policy _

 

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Development concerns that the board -- the Police
Oversight Board and CPOA have. SoI will make sure that
the record of this proceeding is complete as soon as I
can.

Judge, we greatly appreciate the fact that the
court shifted the agenda to permit our community

volunteers to speak before the Court, before the

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parties. As the Court can see from the folks who are

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So

assembled here today, this reform process is extremely

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important to this community. There are a lot of people

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in this community who are devoting substantial amounts

13 of their time, on a volunteer basis, not only to support
14 this reform effort, but also to be an integral part of

15 that process.

16 You have heard from some of those folks today,
17 and they include folks who serve as police on the

18 oversight board, the MHRAC, the community policing
19 councils who are not speaking here today, but there are
20 a number of those members in the audience today. |
21 Obviously, APD Forward and the McClendon Amici.
22 I think that the voice they bring, which is the voice of
23 the community, is critically important, and the United _

24 States -- and I believe all of the parties and the

25 Monitor greatly appreciate the value that they add to
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1 this process and their important role in it. So thank |
2 you very much, your Honor, for making sure that this
3 process includes the community.
4 Jim Tierney has specifically asked me to thank
5 those volunteers not only on his behalf, but also on
6 behalf of the U.S. Attorney's Office and the Department
7 of Justice. I also want to comment, Judge, that we also
8 have many members of our community who are here who may
9 not be involved in a formal way, but who have been
10 supportive not only of this reform process, but also are
11 men and women of our police department. :
12 They are important to this process, and they rd)
13 have made it clear, by attending many, many meetings and : |
14 regularly coming to these hearings, and we appreciate
15 the fact that they continue to support the process, and
| 16 that they continue to support our police department.
17 As Dr. Ginger has discussed, the city and APD
18 have made tremendous progress in a number of aspects of
19 this reform process, and Dr. Ginger has very graphically
20 demonstrated that process in the chart that he included
21 in his report, but he has also made clear that there are
22 significant areas that we need to continue to work on.
23 We want to thank the Albuquerque community for  )
24 supporting APD as it has made this very significant
25 progress. And we also want them to stay with us and to

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1 _ continue to be involved, because our police department _
2 will require their support as we go through the rest of
3 this process.
4 Mr. Tierney wants this court, the city, the men
5 and women of the Albuquerque Police Department, and the
6 Albuquerque community to know that the U. S. Attorneys’
7 Office and the Department of Justice remain fully
8 committed to this process, and they're fully committed
9 to working with APD and the city and the community to
10 make sure that this settlement agreement is fully and
11 effectively implemented.
12 Our support of this important reform process is
13.__ part of our continuing commitment to protecting the
14 civil rights of the Albuquerque community and to making
15 sure that our police officers work within a system that
16 gives them the tools to be safe and to help them
17 succeed.
18 And with that, Judge, I'm going to turn this
19 over to my colleague, Luis Saucedo.
20 THE COURT: Mr. Saucedo.
21 MR. SAUCEDO: Good morning, your Honor. May it
22 please the Court: Luis Saucedo for the United States.
23 Your Honor, I'd like to cover a couple of procedural
24 issues before I get into the substance, a response to

25 the substance of Dr. Ginger's report.

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1 _ . But I would like to say that the United States
2 does have a positive outlook as far as the current state
3 of compliance. The CASA now really, as you can -- as
4 you've heard this morning from people with different
5 experiences looking, who are responsible for different
6 | aspects of the CASA, that the CASA does -- is serving as
7 a shared framework for discussing reform, for discussing
8 goals.
9 And that's really important. Because I don't
10 | think we were there a year ago or a couple of years ago.
11 And having MHRAC explain that they're moving forward,
12 that there's open communication among other entities
13 involved in this process is really good news, it's very
14 positive news.
15 The United States also has the experience of
16 working with other jurisdictions that have seen them go
17 through these same challenges. This is difficult work.
18 But what's important is that they have found ways of
19 overcoming those challenges and coming into compliance
20 with the agreement. |
21 So, I wanted to share that, your Honor, at the
22 outset. Your Honor, the Monitor's reports now cover a
23 six-month period as opposed to a four-month period.

24 That was a request we made to the Court to expand that

 

25 review period. That does give Dr. Ginger greater
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opportunity to review the practices of APD in the field.
It also provides greater opportunities for feedback and
for corrective action to be taken by APD now that we
have most policies and training completed.

Like prior reports, the fifth report provides a

comprehensive assessment of each substantive paragraph.

The report reflects considerable work by the Monitor and
his entire team. While we may not agree with every
conclusion that's reached by the Monitor, we do
appreciate their thoughtful review and analysis.

We also appreciate all the hard work of APD
officers, commanders and support staff. As my colleague
Elizabeth Martinez said, the commitment of city
officials, oversight professionals and volunteers who
are all a part of this process.

Your Honor, there are two changes that
Dr. Ginger made to this report that we wanted to
highlight. One of those changes is that he has now
included tables to represent the results of his review,
when he's looking at files on use of force, or when he's
looking at internal affairs files.

The tables he's providing, in our view, are
helpful and useful in trying to understand and to
pinpoint where the weaknesses are in the process. So we

do appreciate that change that was made in this fifth

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1 report. | .
2 We also appreciate that he has highlighted
3 recommendations in each area where he finds that there's
4 partial or noncompliance. Those recommendations are
5 required by the CASA. The city is free to choose from
6 those recommendations or to take other alternative
7 measures to reach compliance, but we require that the
8 Monitor include his insight and his experience to share
9 that insight and experience to help APD move forward.
10 These two changes are part of broader
11 commitments that were made by the Monitor, the parties,

12 APOA, and the United States. We spent a considerable

13 amount of time earlier this year working on improving
14 communication and trying to make sure that the reports
15 are as accurate and as complete as possible. And we

16 look forward to working with everybody, with Dr. Ginger

17 _and the city, to determine whether we need to make any
18 additional changes to the report, so that they are more
19 complete and more accessible.

20 ‘Your Honor, the fifth report evidence is

21 remarkable progress by APD. As we saw in the Monitor's

22 presentation earlier, the Monitor has found increased

23 compliance in each compliance category: Primary,

24 secondary and operational. This is a positive trend

25 that we should keep in mind as we address the compliance

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1 _ challenges that lay ahead. . .
2 And while not all paragraphs weigh the same,

3 some are more important to reaching sustainable reform

4. than others. The big picture presents a positive

5 outlook for APD. I'd like to take a moment to highlight

6 several key improvements that are included in

7 Dr. Ginger's report.

8 The first of those is seeing improved

9 deployment on electronic control weapons. Those are
10 commonly known as Tasers. Dr. Ginger did look at all
11 ten uses of Tasers. I believe he found that two of

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No

those were not uses of Tasers, so we ended up with

13 eight. But based on his review, APD has made
14 considerable progress in deploying this less lethal
15 force in accordance with the CASA.
16 The city's in compliance with all but two
17 issues related to this less lethal weapon, and they
18 relate to internal audits and analyses that would help
19 APD better monitor the use of these weapons.
20 To remind everyone here, in 2014, when we
21. issued our investigative findings, we found serious
22 problems with APD's use of electronic controlled
@ 23 weapons, including the deployment against individuals
24 who posed only minimal threat to officers and a lack of
25 internal controls.

 

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The fifth report provides evidence that APD's
using this tool to apprehend suspects in a safer and
more effective way. That's an important achievement
that we see from Dr. Ginger's report. —

We're also seeing continued improvement in the
management and oversight of specialized tactical unit.
APD continues to make commendable progress in the
management and operation of these units. Dr. Ginger has
found them in compliance in all but one area, one
paragraph in the CASA. |

This means that based on Dr. Ginger's review,
APD's specialized tactical units have developed
appropriate policies and training, and that they're
performing their duties accordingly. And again, I go —
back to where findings from 2014, your Honor, we noted
that there was a near absence of organizational
accountability of the Special Operations Division.

We found that officers were simply afforded too

much autonomy, insulating them from effective oversight

and management. As of January 2017, this year, the
period covering this report, the Monitor has determined
that the Special Operations Division continues to
demonstrate that it meets or exceeds APD policy,
applicable law and best practices, and that it serves as

a model for other APD units.
by Deborah Trattel (301 -338-907-3060)
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_The one area that remains outstanding is the

 

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appropriate calculation of bite ratios for the canine

unit. Bite ratios are intended to help APD identify a
potential problem that may require corrective action.

We want to make sure that these ratios serve as useful
risk management tools for APD, and that they're working
in concert with other accountability systems.

We're working with the parties and the Monitor

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to resolve these issues as part of the six-month policy

review process. There are other notable improvements,

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and we've heard about them today. The Behavior Sciences

Unit has shown greater stability with new leadership.

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13 The Special Investigations Division. These are the

14 detectives and the staff, or the personnel who are

15 charged with investigating crime. They're contributing

16 to better deployment of the specialized tactical units

17 through the use of a risk matrix.

18 And so these provide an objective way of

19 determining when specialized tactical units are

20 required, and the Special Investigations Division is

21 also showing progress in that area. We're seeing better

22 or improved performance and greater stability with the
@ 23 Mental Health Response Advisory Committee, or MHRAC.

24 The Monitor also found many other paragraphs in

25 other areas in full compliance related to recruitment,

 

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1 field training, performance evaluations, and civilian
2 oversight by the Civilian and Police Oversight Agency
3 and by the Police Oversight Board. So we don't want to
4 lose focus that there are a lot of positive things in
5 this report.
6 The Monitor's ratings are not the result of
7 haphazard performance or implementation, but from the
8 sustained effort of many individuals who worked inside
9 and outside of APD.
10 I'd now like to turn to an area that is in need
11 of special attention that is essential to CASA, and that
12 is the force investigation process. This process is
13 critical to strengthening the community's trust in APD,
14 because it demonstrates APD's ability to prevent use of
15 excessive force and to self-correct when they see
16 problems arise.
17 When mistakes are made, those are opportunities
18 to learn to prevent those mistakes. When there are
19 positive outcomes, those are also learning
20 opportunities. And what the CASA hopes to accomplish is
21 to be able to capture those experiences, those mistakes,
22 and those positive outcomes, so that we're using them to
23 prevent excessive use of force.
24 And I think this is one of the reasons why
25 Dr. Ginger really emphasizes this point in his

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presentation and in his overall assessment, is that

 

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APD's ability to self-correct and self-identify these
problems, even before the Monitor arrives on site, I
think is critical to demonstrating that we're in
compliance, and that those reforms that we're seeking to
achieve have actually taken hold.

Dr. Ginger and his team reviewed carefully a

sample of use of force incidents and APD's response to

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those incidents. The fifth report details Dr. Ginger's

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findings, including weaknesses in each step along the

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force investigation process.

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While APD's performances investigating these

13 force incidents is of concern, it's not entirely

14 unexpected. APD is undergoing significant overhaul of

15 this entire process. If I can go back, as Dr. Ginger |

16 explained, APD completed its new use of force policies

17 early last year. This is early 2016.

18 And over the course of several months, APD has

19 sought to clarify new policy expectations through

20 training, instructional videos and bulletins. This is

21 where APD had found that certain aspects of the policy

22 needed clarification. We have seen those steps being
@ 23 taken along the way.

24 APD has also trained officers on these new

25 policies. So this reporting period, August 2016 to |
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1. January 2017, is really our first opportunity to see how
officers, asa whole, are applying all of these new and
revised policies to real encounters in the field, and
how supervisors are adjusting to the new oversight

process.

2

3

4

5

6 Dr. Ginger does offer a sobering assessment

7 that out of the 16 cases that his team reviewed, zero

8 percent showed an effective command level review of the
9 officer's use of force. Dr. Ginger also found instances

10 where APD did identify problems early on, and he gave

11 them credit for that, because when APD finds mistakes or

12 finds problems, that's a sign that the process is ; @
13 working. | |

14 And again, this is why I think it's really

15 important to emphasize the importance of command-level

16 reviews and the supervisory reviews that take place.

17 Dr. Ginger's compliance recommendations serve as a road

18 map for APD on how to respond to these findings and
19 ensure that APD is making continued progress.
20 I'd like to make one last observation, your
21 Honor, on where we are in the reform process and the

22 steps we need to go in the future. We agree with

23 Dr. Ginger's opinion that the current state of @
24 compliance is well described as a collection of parts, 2
25 __ as opposed to an integrated system.

 

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1 And while this may sound like a strong or harsh
2 _- criticism of nearly two years after this Court approved
3 the CASA, it is evidence that APD is on the right path,
4 because we now have confirmation that these parts exist
5 and that they're in place. |
6 What are these parts? Well, the CASA consists
7 of nine different sections. In each of these,
8 Dr. Ginger has found significant improvement, and you
9 know, again, just to pull some of this together, we now
10 have a full set of compliant -- of policies that are
11 compliant with CASA. Changes are being made to make

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them stronger, but we have an initial set of policies

13 that the Monitor has found independently implement the
14 requirements of the CASA.

15 We have a strong recruitment program that is

16 attracting capable individuals. We have an effective

17 preservice training program where cadets are seeing the
18 CASA as standard and essential. We're not having to

19 change their mindset. They haven't developed bad

20 habits. These are individuals who are coming in and —
21 seeing the CASA as something normal, and they become our
22 change agents within the police agency.

23 We have a group of engaged professionals on

24 MHRAC who have found their footing in the process, a

25 disciplined and well-trained specialized tactical unit
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1 that is doing its part to prevent excessive force and to

minimize harm. We have a robust oversight community
engagement that's supporting APD's efforts.
All of these parts are intended to work

together and to reinforce weaker areas that are

The next phase of implementation, as Dr. Ginger

2

3

4

5

6 difficult to change, like the force and review process.
7

8 describes, involves getting all these pieces or sections
9

working together to achieve measurable results as part

 

10 ofan integrated system. -

11 Your Honor, we're already seeing very promising

12 signs in this regard with fewer firearm discharges and 7 td
13 more appropriate uses of less lethal force.

14 Dr. Ginger's next report, which is due in early June,

15 will be looking at outcome measures, number of injuries,

16 number of uses of force.

17 I think it will be helpful for us to see what

18 the results of all of this effort are, what the results

19 are through this next report that Dr. Ginger will

20 provide.

21 Your Honor, I'm happy to address any questions

22 that you might have.

23 THE COURT: Well, two things, Mr. Saucedo. @
24 Ms. Martinez indicated a moment ago that Mr. Tierney, |

25 the acting U.S. Attorney, had indicated that the U.S.

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Attorney was committed to this process, and I just

 

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wonder to what extent that speaks beyond the local level
and up to Attorney General Sessions. Is the Department
of Justice committed to this effort from the top down?

MR. SAUCEDO: Your Honor, the United States is
committed and the Department of Justice is committed to
this process. We have not received instructions to

change course. We continue to enforce the decree. Our

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DOJ team that is made up of lawyers and staff from both

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the Civil Rights Division and the U. S. Attorneys'

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Office are here this morning, and they are going to be

here this week talking to APD, with APD and the

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13 community. And so we remain fully engaged and committed
14 to achieving the outcomes of the CASA.

15 THE COURT: So thank you for that. And I guess
16 you'll keep us posted of any developments.

17 MR. SAUCEDO: Yes, your Honor.

18 THE COURT: And gosh, by now, everyone should
19 know that I am interested in good news. I like hearing
20 that things are working, and I like hearing that there |
21 are some shining stars out there. But there's a

22 elephant in this room that no one has talked about yet

23 this morning. Language, specific language from the

24 Monitor's report that describes deliberate

25 noncompliance, deliberate indifference.
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od And you have taken some time this morning to ;

2 talk about the positives, and acknowledge that, well,

3 that there is that use of force thing, you know, that we
4 have to talk about. Well, where does this come from,

5 __ and how does it go uncommented on to this point in the
6 day?

7 MR. SAUCEDO: Yes, your Honor. The Monitor
8 does point to certain facts in his report to conclude

9

that APD is deliberately noncompliant. He makes these

10 determinations on very specific issues. And so I think

11 we're able to reconcile our view of things because we

12 are looking at the big picture where there is overall | ®@
13 ‘compliance.

14 And those very specific issues where Dr. Ginger

15 has found that there is deliberate noncompliance, I

16 think we heard from him today, in some cases, he's not

17 seeing sort of purposeful retreat from the agreement,
18 that he's seeing diligent efforts. All of those things
19 are important. |

20 In some cases, Dr. Ginger said that if APD or

21 the city doesn't take action on a problem he's reported

22 over and over, that he would find evidence that there is

23 deliberate noncompliance. And examples of those are the | @
24 inability of an individual to submit an anonymous

25 complaint. So the city has been on notice that

 

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_ currently, or as far as they reported during the

 

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reporting period, that individuals are not able to
submit those complaints anonymously, and it has been
over the course of several reports where he's made that
finding.

And so, I think that would present a situation
where, if there is no progress, I think that would start

to demonstrate that sort of the deliberate

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noncompliance. I do want to address two specific things

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that have been addressed or raised today, where

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Dr. Ginger did refer to deliberate noncompliance.

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One of those are neck holds. We have not seen

13 the city or APD retreat from their commitment in
14 prohibiting neck holds, or saying that when they occur
15 they should not be investigated fully. They are
16 considered serious uses of force. Neck holds -- and
17 it's important to think about what they are.
18 Neck holds are techniques or actions taken by
19 officers to restrict the blood flow or air flow. And
20 that's what causes them to be higher risk techniques.
21 And for those higher risk techniques, we are requiring a
22 high-level investigation.

@ 23 What the city brought to us was their concern
24 that not every incidental contact with the neck was a

25 neck hold. Not every contact with the neck restricted
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1. blood flow or air flow that would raise the level of
2 risk for those individuals.
3 And so what APD and the city were looking for
4 was a way to better define those terms so that it was
5 clear to the officers and to the supervisors who were
6 looking at uses of force. And we have discussed, as
7 part of the six-month review process, ways to address
8 those definitional issues.
9 I think we all need to be able to agree that
10 when there is a neck hold, that APD identifies it as a
11 neck hold, and that Dr. Ginger identifies it as a neck
12 hold. And for that, we need to have very clear
13 definitions in policy, and that's where we're headed.
14 So in that specific instance, we're not
15 endorsing this view of deliberate noncompliance because
16 we continue to see that APD is committed to treating
17 those types of force incidents as very serious and that
18 require a high level of reviews.
19 The other point that I wanted to address is are
20 these special directives. And I know that Dr. Ginger
21 described one such directive as covert. I think we need
22 to understand that the city and APD need to be able to
23 -- and the chief need to be -- they need to be able to
24 manage APD. And if they see a problem in policy,
25 especially one that involves some sort of safety issue,

 

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1 it would be impractical, and I don't think we would want _
2 to go through the normal policy review process that
3 could take months.
4 And so, what we've seen, and what the city has
5 indicated to us, is that some of these directives have
6 been stopgap measures to address very practical or
7 serious concerns. What's important is that some of
8 these stopgap measures might actually be proof that the
9 system is working, right, that they are identifying
10 problems and taking prompt action to fix them.
11 And so we're working with the city, with the
@ 12 Monitor. We discussed this at our last monthly meeting.
13 We discussed that we need to develop a process to make
14 sure that Dr. Ginger is aware of when these special
15 directives are issued, and that we understand sort of

16 the impact that they have.

17 But again, your Honor, in those two specific

18 instances, we've not seen APD retreat from its

19 commitment in the CASA.

20 THE COURT: Well, with regard to neck holds,
21 we're two-plus years in and we don't have a definition
22 yet? Is that what you're telling me?

@ 23 MR. SAUCEDO: Well, your Honor, the city is --
24 the city -- your Honor, it did take a long time to

25 address this issue. And the solution that's been
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1 identified is changes in the definition of neck holds
2 that we're seeing in the six-month review of this
3 policy. So we do see that changing so that everyone is
4 -- we should try to -- we need to eliminate any
5 discrepancy between the Monitor and APD's review of
6 these incidents, right?
7 They should be looking at the same thing and
8 for the same thing. And it really does go back to these
9 definitions. And I think policy development really is a
10 continuous process. And so I think we will be reviewing
11 a policy that does have a solution in it, and as part of
12 this process, we would be reviewing and approving that
13 policy.
14 THE COURT: One or two other things, please.
15 At page 126 of the Monitor's report, he is referencing
16 the Monitor's circling back to APD about particular
17 cases. And he says it's nearly incomprehensible that
18 after five attempts to prompt a legitimate follow up on
19 cases that the monitoring team has identified as
20 problematic, two of the three remain unresolved after
21 nine months. It's unknown where the fault lies, but --
22 he goes on.
23 Have we had resolution -- this was as of
24 January. Where are we on those, two of those three
25 unresolved cases? Do you know where we are? Can you
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give me an update?

MR. SAUCEDO: Your Honor, this is something

 

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that we do want, need to talk to the city about, because
Dr. Ginger observes that the city takes his reports, has
taken his reports as water under the bridge. In other
words, we move on to the next set of incidents, the next
sample of incidents. And he has emphasized the need to

go back and see what action APD took in response to

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these incidents.

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We agree that it's taken a very long time. We

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need to find out from APD what action was taken with

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respect to these two of the three incidences where he

13 says are outstanding. The Monitor doesn't -- in

14 reviewing these incidents, doesn't resolve the incident.

15 There is no disposition of the incident. That takes

16 place by action that's taken by the city. And so it's

17. important for us to circle back and find out what

18 happened to those cases.

19 THE COURT: Finally relating to this, the

20 special orders. I don't have the particular number in

21 mind, but there was one reference this morning, that the

22 city allegedly denied its existence and when they saw
@ 23 the minutes, they said something else about it. But it

24 -- I'm told, in some of these materials, that the

25 content of that order ran counter to some of the

 

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1 provisions of the CASA.

 

So the fact that APD gets to manage itself as
- it feels best, so long as its complying with this

agreement, and that's troubling to me. Do you know

2
3
4
5 about the specifics of the order that was referenced
6 this morning?

7 MR. SAUCEDO: Yes, your Honor. That special

8 directive changed the number of recordings that would be
9 reviewed by a supervisor. The policy that was approved

10 through the policy review process required that a

11 supervisor look at, on a monthly basis, review lapel

12 video of officers, of all officers in the unit. And the @
13 change that was made was that he would -- that the |

14 supervisor would only look at a smaller number of those

15 per squad. So not every officer, but a sample of

16 officers in the squad.

17 This relates to Paragraph 220 G in the CASA,

18 where supervisors are required to review recordings

19 regularly and to incorporate the knowledge gained from
20 the review in their ongoing evaluation and supervision

21 of officers.

22 . And so, we understand that this presented a

23 workload issue for the city. We have been working with !  )
24 the city as part of our discussions. This issue has

25 come up in our weekly meetings, and what we're seeing is

 

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© | | : a Page 105 |
1 _ there are some underlying legitimate issues about the _ , /
2 workload and the burden on supervisors as part of this
3 process.
4 We do want to make sure that we're not
5 oversaddling our supervisors where they aren't able to
6 go out into the field or to think about the incidents
7 that they're coming across. So we're working with the
8 city to try and address that specific issue.
9 We're also working with the city to make sure
10 that the special orders are brought to Dr. Ginger's and
11 the parties' attention early on, and that Dr. Ginger

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doesn't have to sift through or come across something by

13 happenstance. That is something important and something
14 we're going to be looking for with the city and

15 Dr. Ginger.

16 THE COURT: So when this particular order, its
17 existence was brought to the attention of the city, are

18 you aware of their response? Did they say it doesn't

19 exist until they drilled down some more? Is that true?
20 On the reduced review, at the sergeant level or whatever
21 it was, of the on body recording devices, did the

22 city -- see, it's okay for them to prepare their orders,

23 but it's not okay to say they don't exist when they do,

24 and in fact, it contradicts elements of the CASA.

25 So that's what I'm concerned with. Not the

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fact that there might be excessive work required of the
supervisors. Of course, we have to be sensitive to

that. But we don't get to -- the city doesn't get to

say because it's hard, we're going to do it differently
and we're not going to tell anybody about it. That's my
concern. |

MR. SAUCEDO: Right. Your Honor, Dr. Ginger
did say that when he asked about this special order that
it got the response that you just articulated, your
Honor. My understanding is the city is not taking issue
to contradict that.

THE COURT: We'll hear from the city after | | @
lunch. So actually, I guess in terms of the agenda that
the parties agreed to, we'll hear from APOA right after
lunch, and then the city following that. And we will be
in recess then until 1:15. Thank you all.

(Recess taken from 11:59 to 1:15 p.m.)

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RESUMPTION OF HEARING
1:15 p.m.

THE COURT: I think we're to that point in
the process where I'm going to hear from
Mr. D'Amato.

MR. D'AMATO: Thank you, Your Honor. On
behalf of the Albuquerque Police Officers'
Association, we'd like to thank you for the
opportunity you've given us, not only to address you
today, but also take part -- allowing us to take
part in the process of getting to full compliance.

So we want to thank you for that opportunity.

We would also like to thank Dr. Ginger
and his staff for the amount of -- of work that he's
put into this process, getting us to this point, and
as -- of course, as well as the City of Albuquerque
and the Department of Justice.

‘I thank the last two, in part, as a

formality but, also, Your Honor, to dispel any rumor

that these folks -- the parties, the Amici --
Amici -- are not taking part actively in this
process.

I have been involved in this process
for the last 60 to 90 days officially, and I have

not seen any evidence of either a party or a vested

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1 interest of the -- of a community member, a _.
non-profit group, that -- that's addressed this
Court this morning. I believe every one of those
folks and organizations have worked diligently to

get to, not just compliance, but get to a working

2

3

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5

6 operational system that can work at the highest

7 levels with the chief and his command staff as well

8 as the new recruit coming out of the Academy.

9 And that's what the Albuquerque Police
10 Officers' Association's -- Association focus is on,
11 _ the -- the officer coming out of the Academy that
12 will be impregned with the first two requirements,

13 his safety and community safety. Those are the two

14 elements that drives the APOA primarily when we

 

15 review these policies.

16 Those are the things that we want to

17 see implemented that ensures a safe community and a

18 community that feels safe. I don't think we're

19 there today, with a community that feels safe, for a

20 variety of reasons.

21 I do want to dispel some

22 representations made to you this morning. Minor

23 ones but important for the Court to understand, as

24 well as those folks in the community. The first one

25 primarily is, there is no deliberate indifference
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that I have seen on the part of the City, on the
part of any police officer, any supervisor, or
command staff.

Now, this is a difficult process,
getting to where we need to be. It's very difficult
and highly charged. Parties take certain positions
that are not necessarily irreconcilable but they
come from different perspectives.

The one word that I can think of to
advise you of why this disconnect occurs is the
subjective nature of the English language. Now, we
talked about, earlier, about a neck hold. The Court
Approved Settlement Agreement provides the
definition of a neck hold. Making the jump from the
CASA, if you will, related definition for "neck
hold" into a workable policy is the product of so
many different viewpoints. What may be a neck hold
to you when you view a lapel video is not
necessarily a neck hold that falls into the official
definition of, not only the City policy, but of the
Court Approved Settlement Agreement. So that's, in
part, where the disconnect occurs, when we subject a
person's subjective view of a set of facts.

One of the reasons that occurs, in a

minor way, is the shift, or the drifting, I call it,

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1. away from the objective reasonable officer standard
2 enunciated in Graham vs Connor. There are many
3 excellent points that IMR-5 make with regard to the
4 police department.
5 _ But I think the APOA's concern is that,
6 once you start injecting subjectivity into an
7 analysis, you're all over the board. And when the
8 Monitor phrases that something in his report that
9 says use of force, Graham vs Connor should be one of
10 the other factors -- one of many factors that one
11 should consider. And, so, the many factors are
12 taken by other folks to say, "well, subjectively, I
13 believe that's excessive use," and so we get into
14 chasing rabbit-holes with regard to definitions.
15 And, so, from the beginning,
16 Mr. Mowrer, on behalf of the APOA, has tried
17 valiantly to eliminate the ambiguity in the use of
18 definition in terms. And, again, I bring in the new
19 recruit coming onto the street with it, should be
20 simple for him or her. They should be able to look
21 at a policy and understand it readily. And that's
22 the transition we're getting to.
23 And part of the delay, as you know,
24 with some of the policies that the APOA has been
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working with the City and the Department of Justice

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on, is the meaning and intent of the language used.
It may work today but it may not work with the next

administration, or it may result in an ambiguity

that could result in the depravation of a

promotional policy, something that's important to
develop our troops coming up.

The Court, thankfully -- and I
appreciate the comment it made with, I think it was
Mr. Saucedo's presentation, that you should be
concerned -- we all should be concerned with
staffing issues.

So, currently -- it's almost like we
were talking at lunch and, sure enough, you have a
plate representing the Sergeant's responsibility
before the Department of Justice and the consent
decree was entered with a lot of responsibilities.
Now, we're putting more and more responsibilities on
these sergeants, these first-line supervisors. I

think -- respectfully, it is our opinion, when doing

_ $0, we lose sight of what a Sergeant's role is. A

supervisor -- a front-line supervisor's role is to
keep his community safe with regard to response to
crime reporting, to keep his officers safe, and,
then, administration.

But I think we -- there's a perception,

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1 at least, that the priorities have been flipped a
2 little bit and you'll see this in future policies.
3 Right now, for example, when discussing the First
4 Amendment assembly policy, you can read the entire
5 policy and it's focused on the -- the respect for
6 the folks assembled, respecting their First
7 Amendment rights. As long as it's lawful, they have
8 the First Amendment right.
9 There's nothing, really, to drive an
10 officer in the field with some confidence to say,
11 "Hey, this policy balances the interest between a
12 citizen's right and an officer's safety." So that
13 will always be a discussion, whether there's a
14 consent decree in place or not.
15 One of the other representations made
16 to you, which is just flat wrong, a distraction
17 strike is not a strike to the head. A distraction
18 strike -- I don't think there's anyone in this room,
19 at the tables, by the parties, would -- they would
20 _ not disagree that a distraction technique is a use
21 of force, clearly.
22 The breakdown occurs, in our opinion,
23 when you inject a subjective evaluation of whether a
24 strike may or may not be a serious use of force,
25 reportable use of force. And that's where, when we
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take the definition terms and try to implement them
into the reality, I think we're forgetting -- we're

not calculating the human nature side of this, that
one command -- one area commander may do an
excellent job in implementing the policies with -- a
certain way. I think it would be an unsafe, or a
dangerous position to take, that that's the formula,
that's the algorithm that works and it will work in
every area command.

Each commander in his or her area
command is unique and they bring their own world
experiences to that job, to that position. And just
by definition alone, I don't think you'll have a
consensus, unless we look at the objective standard
enunciated in Graham vs Connor.

So, if we get a shift away from that
recognized standard, I think we're creating more
problems than -- than necessary.

The third -- again, I think I touched
on this -- was that, for someone to suggest
non-involvement -- for example, I think, if I
remember correctly, the Office of Policy Analysis --
I can't remember a meeting that either the APOA
attended at least with one person, or a City folk

were there -- I don't remember -- and Mr. Mowrer, I

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1 know was there, as well as APOA. So to suggest to —
2 the Court, and to others or to the community that
3 the City of Albuquerque, or the Albuquerque Police
4 Department or any other party, DOJ -- not involved,
5 we don't care, we're indifferent to the endgame or
6 the goals of the CASA, is not only untrue, it's just
7 not fair to leave that impression with this Court
8 and the community.
9 I appreciate the APOA appreciates the
10 work Dr. Ginger and his staff did with regard to
11 this report, both in terms of the actual number
12 aspect, the analytics, if you will, and also
13 recognizing some of the realities of staffing and
14 things like that.
15 There was some discussion, earlier,
16 with regard to the Sergeant's review of videos.
17 Well, if you take away today's discussion -- take
18 away from the discussion the issues that have been |
19 resolved since the last meeting, within the last 60
20 to 90 days, I think the -- the transcript of this
21 hearing would probably be cut and a half because
22 what you heard today was, "This used to be a
23 problem, your Honor, but it's fixed. This used to
24 be a problem. Now, the communication is greater."
25 And, so, I think, prospectively, we are

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_ on the right path -- the Albuquerque Police

 

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Officers' Association, the Department of Justice,
and the City of Albuquerque Police Department, we
are on the right path, and I believe, at least to my
experience, no one has shirked their responsibility
and, if anything, it goes to the other extreme.

An informal poll will probably reveal

that we're spending overtime -- DOJ overtime, City

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of Albuquerque overtime, legal department as well as

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the APOA -- trying to reach a resolution on certain

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issues that pop up.

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One of the Amici indicated that success

13 can't happen unless we have direct involvement by
14 the Amici. I submit to that we can have the
15 involvement of every community organization from the
16 moment the process started to the endgame - 110%
17 involvement -- but we're not going to solve the
18 underlying problem until we have the staffing issues
19 resolved.
20 I think you'll hear from the City that
21 supervisors -- they're short. They need sergeants
22 on the street. They need people and they're

@ 23 doing -- the City of Albuquerque is doing everything
24 they can with regard to recruiting. But when we see

25 recruiting -- for example, 74 hired, 68 left and
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1 _ retired so we have a net gain of three or four,

2 that's not going to work. That's a formula that

3 does not suggest that we're going to come up with
4 policy-first compliance. Second-level training,

5 we're there. But when we get to the operational

6 phase, that's what the APOA represents, the folks in
7 the street trying to implement that which they've

8 learned through the Academy and the training.

9 So just keep in mind that there's a lot

10 of human frailty here. There's a lot of human

11 subjectivity. There's a lot of different folks

12 coming at this problem with their own perspective,
13 education, training, background, and experiences.
14 It's not going to be easy to reach

15 resolution but I think that it is doable. And I

16 think that the next report you will see, I would

17 like to think, Dr. Ginger can make a little shorter,
18 but -- but -- and the table's helped. But I think

19 along those lines, you'll see much more progress
20 made in the next report, in the next six months.
21 The body camera issue may not be that
22 big of an issue once. the parties have exhausted the
23 negotiations and discussion about the language.
24 Again, we're looking at the language that is

2 . correctly implemented in a policy that will avoid

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safety issues in the future, liability issues, and

 

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potential problems from within the Department, as
far as discipline, and appealing, to -- so that it's
avoided by the use of clear terms and not ambiguous
terms.

Very clear definitions, allocation of
scarce resources, and getting the numbers up in the

field will help alleviate some of the perceived

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problems. But I do not want this Court left with

the impression that the parties are not working

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diligently to get to where they need to be.

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No

We're going to disagree. The APOA, the

13 Albuquerque Police Officers’ Association, will

14 disagree with the City on certain things, DOJ on

15 certain things. It's no secret that we did not

16 believe that there was a need at the time -- at the

17 close of the Department of Justice's investigation.

18 There was no pattern and practice; there's

19 certainly, we believe, not a culture of violence.

20 But I can assure you, today as we stand here, if

21 _ there was a culture of violence today, that --

22 today, that culture is extinct. I don't think we
@ 23 have that approach today. I don't think that is —

24 imprinted in the community.

25 (Note: Comment made from gallery.)
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1 _ There was one other comment made_.
2 | about -- one other --
3 THE COURT: Mr. D'Amato -- you know what,
4 I don't want to hear any comments from the gallery,
5 that's inappropriate. And I -- it is distracting
6 and I'd rather you save that for a proper forum.
7 This isn't it. Mr. D'Amato, please.
8 MR. D'AMATO: One other point -- and I'll
9 close in a minute -- was that the culture of
10 violence is gone. Although we have objected to the
il entry of the Court Approved Settlement Agreement,
12 today we're part of that and we're doing everything
13 we can to comply with the terms.
14 I just think that, two years after its
15 entry, the City has made great progress -- great
16 progress given the scarcity of resources. And I
17 think the scarcity of resources will be seen in the
18 future when we're overloading supervisors with
19 work -- administrative stuff. Yes, there's a
20 | need -- there is a need to review and to supervise
21 and bring it up the chain, but I think -- I do not
22 want to set the supervisors up for a failure for
23 failing to comply with that which is required.
24 After we have reached total compliance
25 on all three levels, the Department of Justice will

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leave this jurisdiction, as far as this case goes.
As was indicated earlier, the City of Albuquerque
will have new management in, operating with new
leaders, but the officers that are members of the
Albuquerque Police Officers' Association will still
be here, and long after everything is settled.
Those police officers will be responding to calls,
taking calls, and dealing with the community. And
I'm hopeful that everyone will work in some sort of
tandem agreement to get to where we need to be.
So I thank the Court again, and I thank

Dr. Ginger and his staff for the work that they're
doing. Thank you. Any questions, Your Honor?

THE COURT: Not any -- no questions,
Mr. D'Amato, but I -- I just think it's fair comment
that all of our focus today has been on the report,
IMR-S, that concluded its period of analysis in
January of this year. So -- so there may well have
been considerable progress -- I hope there's been
progress since then. So, thank you, Mr. D'Amato.
Who's got the ball for City? Ms. Espinoza?

MS. ESPINOZA: Your Honor, I'm Celina
Espinoza. I am the communication and community
outreach director for the Albuquerque Police

Department. My job is to take what APD is doing and

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1. be able to break it down and clearly communicate.
2 that to the community and give them updates and
3 answer questions and be able to help with that.
4 Paragraph 261 of the CASA states that
5 APD will host a community outreach meeting
6 semiannually in each of the six area commands to
7 update progress compliance and answer questions.
8 So I'm going to give you the
9 presentation that we gave at each of those area
10 command meetings -- a little bit in brief so that
11 you're not here for an hour -- and simply so that
12 you can see what the community has been informed of
13 as to APD's progress.
14 The first was -- this slide was simply
15 a slide that Chief would like us to address because
16 we had been getting lots of questions of what
17 happens on the national level with the new -- new
18 leadership in place.
19 And it's simply that APD is committed
20 110% to this settlement agreement. It's something
21 that we have great ownership of and that if there
22 was something that -- that APD was no longer bound.
23 ‘to the settlement agreement, we would still be
24 committed 110% to everything that's written in that
25 agreement, just to reassure the community that this

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_ is something that we -- we truly believe in and

every reform written into that agreement is
something that we value and that we want to see to
fruition.

Where are we today? APD has currently
met all of the Court Approved Settlement Agreement
deadlines when it comes to training and policies.

We talk a lot of about training. Policy was the
first step; training, the second step; now, we're in
the operational phase or "is it working" step.

We approved, and the parties all
agreed, on 37 new policies, which are now currently
being reviewed. And all the CASA-related training
has been completed and we are currently working on
updates.

We're also working on new technologies
and job aids to help with some of the supervision
concerns that the monitoring team has.

We're really focused on bringing
accountability to officers’ application of use of
force and supervisory use of force.

When it comes to policy, we're |
currently reviewing what we call the "use of force
policy suite." So that's anything that has to do

with on-body cameras, electronic control weapons,

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1 our standard use of force policy, and that
2 supervisory use of force policy.
3 We've also updated some of our training
4 to address concerns when it came to show of force,
5 to make sure it's clear to the officers what that
6 means, how it's classified, and, then, communicated
7 to the community of what we are documenting, what a
8 show of force looks like and how we are tracking
9 that and how that data helps the Department learn
10 from the outcomes on the streets.
11 We're also tracking that when it comes
12 to our electronic control weapons, our tasers,
13 because as we've heard, over and over today, taser
14 is one of the highest levels of force that the
15 Department can use and we take that very seriously
16 and hold it in high regard.
17 We asked one of the local media
18 stations to come in -- they've been -- one of the
19 stations that has been most critical of the
20 Department's reform efforts -- to actually observe
21 and witness and take part in our use of force
22 training. We wanted the public to be able to see
23 what it looks like from an unbiased perspective.
24 So -- lots of times, we have officers
25 talk about their training but they don't -- the

 

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AL public didn't get an opportunity to go through that
2 class but -- to look take at it -- so we asked a
3 reporter who's been very critical of the way the
4 Department has handled these reform efforts to come
5 in, look at that, and then present a piece on that.
6 So we showed that video to the community.
7 When it comes to new technologies to
8 help with supervision and use of force reviews,
9 we've implemented the BlueTeam technology, which --
10 I describe it as a big bucket, making sure that all
11 pieces of that use of force investigation are in |

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that bucket and that the supervisory chain can see

13 and access that bucket at all times to make sure, is
14 there a video, was this form properly filled out,
15 did the officer give the proper testimony and
16 witness conclusions, and were the proper questions
17 asked by supervisors on all levels.
18 So that use of that technology has
19 helped make sure that those investigations are not
20 only standardized but make sure that it gives our
21 supervisors a path and a direction of what needs to
22 be required within those investigations. |

@ 23 We've also implemented some things and
24 tools to help them ensure that they're communicating
25 directly with the officers on that first line, and

 

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| then on up, including an additional concern memo
2 which can get kicked back to that officer, or that
3 chain, multiple times to make sure that we're —
4 documenting and tracking what's being identified,
5 where there are deficiencies and how they've been
6 corrected.
7 And, then, employee work plans. This
8 is something that they do in the private sector and
9 something that we decided that needed to be done
10 within our agency.
11 We know that there are going to be
12 certain officers who might be "B" cops all of their
13 lives but what are their goals to their career? If
14 they plan to stay in the southeast, work the
15 southeast and be on the same shift for 20 years, we
‘16 want them to have goals when it comes to that
17 long-term career, even if it's not promoting, just
18 goals within their -- their own -- their own
19 development. Making sure that they're not being
20 stagnant.
21 We've also implemented other job aids
22 when it comes to inspections and different things.
23 that the officers are required now to do per the
24 CASA. And some of those forms are inspection checks
25 for -- simple uniform checks to taser cartridges and
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expiration dates, and making sure that cars are

 

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clean, and they have proper complaint intake forms.
We're standardizing those processes so supervisors
know what's required and the community knows how
we're holding our department accountable to that.
We've discussed much about the Use of
Force Review Board, and we went over this with the

Community Policing Councils, that every serious use

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of force is reviewed by this team. They review all

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critical incident review team investigations and

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they are now doing samples of supervisory

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investigations.

13 So making sure that we're auditing,
14 essentially, those supervisors’ investigations at a
15 random level and they're meeting above and beyond
16 what they had been prior to this reporting period. |
17 So they're meeting about every two weeks, because
18 the case load is that vast and we need to get
19 through those cases and make sure that we're looking
20 for all of those concerns that the Monitor had
21 pointed out.
22 We discussed how they're comprised,
@ 23 who's on that board, and that the Civilian Police
24 Oversight Agency is a main extension of that board,

25 and that the Civilian Police Oversight Agency and

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1 __ the Police Oversight Board also reviews use of force
2 cases independently. So you have an additional
3 level of oversight just besides what the police
4 department is doing internally.
5 When it comes to new training, we've
6 implemented some supervisory training, or leadership
7 training, because a lot of training that the
8 officers get is very much surrounded per policing.
9 But we wanted to give them different leadership
10 skills and leadership skills that might be out of
11 the box and -- this was at the suggestion of
12 Dr. Ginger, that we implement this Six Sigma-type
13 process within the police department.
14 So we asked outside agencies within our
15 community to come in and give some of this
16 leadership training. And we've built wonderful
17 partnerships within our community to make sure that
18 we're giving our officers leadership skills, and
19 we're developing those skills and honing in on them
20 and improving our process, whether that be data
21 collection, the way we respond to calls for service,
22 the way officers review their own cases, and looking
23 for any inefficiencies to make them more efficient
24 on the streets, and, then, that service is better
25 used for the public.

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_ We've also done training for this
reporting period on the complaint intake forms and
investigations so that when any citizen wants to
make a complaint, the officer is well versed on how
to direct the citizen to do that and help them
through the process and, then, where that complaint
should go. So ensuring that they're familiar with

that process.

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We've also updated our field training

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So

officer program -- which you've heard about today --

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and just making sure that everything that that

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now-graduate from the Academy is held accountable to

13 is based on the core values of the Albuquerque
14 Police Department.
15 This reporting period, we developed a
16 really unique training for APD and it was based
17 around cultural sensitivity and ensuring that we are
18 preventing any sort of possible development of
19 biased-based policing. That, we asked a panel from
20 an outside group put together by one of the task
21 forces within our City to bring together cultures
22 that are widely represented in our City.
@ 23 So we looked at the Hispanic community,
24 the Native American community, the Asian American
25 community, and -- our African American community,

 

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1 and asked them to bring their own perspectives of
2 policing from a cultural standpoint within their
3 ethnicities and, then, to discuss the ways that they
4 have differences in communication styles. So
5 that -- if an officer is interacting with an
6 individual, they can be more sensitive to the
7 different types of communication mechanisms that
8 maybe certain cultural groups would have and
9 understand the family structures and their own
10 individual histories of policing and we will have
11 better outcome and interactions.
12 We're also working to diversify that
13 training to include the transgender groups and
14 different religious ethnicities within our
15 community, so we're not just looking at simply
16 cultures, that we expand this across all kinds of
17 different diversity groups.
18 When it came to mental health, we did
19 take this into -- to heart that, in the last report,
20 Dr. Ginger mentioned that he really wanted us to
21 focus on mental health and the outcomes. And I
22 think that you've heard today here, that those
23 outcomes have greatly improved and that's something
24 that the Department is very proud of, that all of
25 our officers are now crisis intervention trained --
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which is additional training besides what,the State
requires -- that we have an up-and-going crisis
intervention unit that is specifically working to
proactively help families and address issues and do
proactive policing in that community based policing
where we're giving them tools and resources, and
making sure that the right people are talking to
each other to prevent calls for service that could
increase escalations or situations that we -- we
might not want to see, the most favorable outcomes.
We also -- our crisis outreach and
support teams have grown and are moving forward, and
those are comprised of civilians. So our behavioral
health specialists and our clinicians, they work
hand-in-hand with the officers so that it's not just
a police officer responding to that crisis situation
or that individual that we know has -- or might not
have a diagnosed behavioral health diagnosis but
that we have interacted with in the past. So we're
building those relationships and making sure that
they're getting the resources that they need.
We talked a little bit -- you heard a
little bit about the mobile crisis teams and that
some of the Amici would like them to see less --

them be less police-driven, and that's exactly the

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goal of them. They are comprised of Bernalillo
County, New Mexico State Police, Valencia County,

members from UNM, and our Family and Community

Services Division within the City.

So it's an officer that goes to ensure
that those agents are protected, but that it's the
interaction of resources with the individuals as
part of that mobile health crisis team and -- and,
really, that proactive approach just, making sure
that families know what the resources are and that
we're getting individuals help.

We also told the community that we do
have the goal of making sure that 40% of all field
officers are enhanced crisis intervention trained
and that's something that we're very dedicated and
commnitted to.

We've talked about MHRAC and our
partnership with them and how wonderfully they're
doing. I don't think you need much more on that.
But for officers, we just hired a former police

officer to help with some of, maybe, behavioral

- health issues that police officers would have after

a -- big incident or a -- arrest investigation
that -- that was hard or difficult for an officer to

deal with, making sure that they have resources so

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that the outcomes on that next call are much more
positive, as well.

We've also hired a peer support
coordinator to ensure that these teams, if they
don't feel comfortable going to a clinician or a
physician, that they have somebody within the
Department that they can talk to and address
problems with and workout mental health situations,
or just need peer support.

| We looked at mental health outcomes.
So from January through October of 2016, APD
responded to 2000 calls about -- that were some form
of crisis intervention related. Of those calls,
about 1600 of them resulted in jail deference or
hospitalization.

So, that big red piece, 77% of them had
no arrests, and that's hooking these individuals up
with resources and being able to help provide
alternative outlets and support that individuals in
our community might need.

The next piece of the pie is 9%. And
189 of those calls resulted in no transport, which
means that the officers were able to resolve the
situation on scene, work with the family members,

work with the individual, get that crisis averted,

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1 __and get the situation peacefully resolved.
2 175 reports are -- or about 8% -- are
3 still in-process, or they're working with our COAST
4 team. So they've been assigned a case worker and
5 we're working those cases protectively and making
6 sure that we're keeping contact with those
7 individuals.
8 Fifty-seven of those calls, or about
9 2%, were suicide-related. Now, that doesn't mean
10 that the individual committed suicide, we just
11 classified "suicide" differently because it's not a
12 crime. And, then, of the 2000 calls, 34 of them, or
13 about 1.65%, did result in an arrest or a detention.
14 Now, of those 2000 calls, only in 6 of
15 them was there some sort of force used. Now, that
16 doesn't mean serious use of force, it's the basic
17 level of force all the way through. So about 99.7%
18 of our calls when dealing with mental health issues
19 resulted peacefully in the streets and being able to
20 help in the proper way.
21 We've talked a little bit about the
22 Office of Policy Analysis. They are currently up
23 and running. They've received 45 recommendations
24 __—‘ from community stakeholders, or people in the
25 community that tried to submit them. And of those
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1 45 recommendations, 47% ofithose recommendations
2 were accepted by the Department. So about half of
3 the recommendations that we're getting from the
4 community, we're able to implement and really,
5 truly, put into policy.
6 APD is one of the only departments in
7 the nation where, literally, anybody in our
8 community can review a policy, write in a comment,
9 ask for it to be put into policy, and then get
10 direct response back from our Department. And
11 that's the commitment, is -- if you take the time to
@ 12 write us what your concern or your suggestion within
13 a policy, is we'll take the time to make sure that
14 you know what the outcome was, whether it got fully
15 adapted, partially adapted, or why it was not
16 adopted.
17 When it comes to staffing, we've
18 increased our graduation rate by more than 400%
19 since 2010. It's a stat that we're very proud of.
20 We graduated 93 recruits last year. That's the most
21 in more than a decade and we're really, truly
22 working to increase our staffing levels.
@ 23 You have -- know that the staffing plan
24 was published in June of 2016, which has our
25 allocation for resources and how we see the goals of

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1 the Department once fully staffed, and then those
2 are our numbers for where we stand -- this was last
3 month -- of the total sworn and where they're
4 allotted.
5 We've also increased the PSA, or Police
6 Service Aide, program to help with a stepping stone
) 7 for recruitment and ensure that we're opening doors
8 to individuals and getting to them early so that
9 they can make the best possible police officers in
10 our community.
11 We've discussed the ratio of sergeants
12 to supervisors so I'll skip over that one. And,
13 then, we'll touch a little bit on your Community
14 Policing Councils. Because APD believes that, if
15 - the reform efforts, the settlement agreement, is
16 done, we are compliant in all measures, it'll be the
17 Community Policing Councils that hold us accountable
18 to the reforms that we've already implemented. And
19 we really expect the community to hold us
20 accountable to what APD has said it will do and will
21 continue to do, no matter which administration might
22 be in place.
23 ~ So one of the things that -- that we've
24 really committed to is, we -- we -- Chief Eden wrote
25 a letter stating that the Community Police Councils
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1 are here in Albuquerque -- here to stay in
2 Albuquerque and that they're a very, very important
3 arm and extension of policing in our City.
4 We've made sure that our website has
5 the proper minutes and notations and development
6 there. We hired a coordinator -- which you met, I
7 think at the last meeting -- and then we've also
8 done lots of advertising to help people get involved
9 in this process and have a place to come to voice
10 their concerns, ask questions of the officers, learn
11 about our policies and, really, what's going on

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within the Department.

13 When it comes to community engagement,
14 we've opened our social media platforms to allow for
15 questions and answers. We know that not everybody's
16 going to feel comfortable with face-to-face with a
17 police officers and asking a question so you can,
18 literally, do it online. Anybody can send us a
19 message, ask us a question, ask where their report
20 is, ask why the police officers need a Use of Force
21 Policy, what that means to our Department, and they
22 get a direct response from either an officer or a

@ 23 member of my team to ensure that that communication
24 is open and ongoing.
25 We've also launched different programs,

 

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1... whether that be Coffee with a Cop or different
2 outreach programs, so that they can have
3 _ face-to-face interactions with our -- our Department
4 and ask questions.
5 Officers are also now using a new
6 10-code, a 751, when they go to community meetings
7 or interactions so that we can track what types of
8 meetings they're going to. Are we spending more
9 times in schools or more times with neighborhood
10 associations, or do we need to go to more sporting
11 events, whatever it might be, to ensure that our
12 community outreach is broad and extensive and what
13 the community would like it to be.
14 Some of the stats from this -- this
15 period that I think will be of note to the Court is,
16 our officer-involved shooting have decreased 53%
17 from 2010, and the numbers are there. And our
18 overall firearms discharges have decreased 72% from
19 2010. So those are both data points that we are
20 very, very proud of and that the outcomes are -- are
21. there for the community to see what it looks like
22 when it comes to data within APD.
23 And that's all I have for you. |
24 THE COURT: Thanks, Ms. Espinoza. Thanks
25 very much. Chief Eden?

 

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MR. EDEN: Good afternoon, Your Honor.

 

—

Since May of 2014, I'd just like to give you an

update on some of the things that have happened

within the Albuquerque Police Department. Twelve of
the fourteen APD commanders that have been promoted
since June of -- I'm sorry, since May of 2014 have

been promoted into those positions fully aware of

the -- the CASA, the settlement agreement. Since

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2014, the promotional process is now included in the

—
So

promotional -- the CASA is included in the

—
—

promotional process.

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In 2016, the Albuquerque Police

13 Department promoted 25 new sergeants and a new group
14 of lieutenants, all who have great knowledge and

15 leadership skills but, more important, are committed
16 to the CASA.

17 I can report to the Court that APD has

18 graduated well over 100 cadets who have been trained
19 in all of our new policies to include new use of

20 _ force policy suite in addition to the many elements

21 of the CASA.

22 Why should that be important? In my

23 visits to both Las Vegas in Los Angeles, and in

24 meeting with other departments that have been under

25 a settlement agreement or a content decree, they
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said it's very important to stress all your new
policies and all your new procedures to each and
every single recruit, make sure that those practices
and policies are clearly implemented in your field
training officer program, that is the way you will
sustain your efforts. That's what the Department
has done.

In addition, the Academy staff has
worked with great commitment to identify training
gaps between the training Academy and the
application of what they've learned in the Academy
to the workplace.

The Academy staff works closely with
our field training officers, and our field training
officers' supervisors, to make sure that we take
immediate corrective action when it is needed.

These efforts by the Academy staff and
the field training officers are critical to the
long-term change that is needed within the
Albuquerque Police Department.

I would like to also inform the Court
that APD continues to include the critical elements
of the CASA, and we were developing our 2017
Sergeant's examination, making sure that the

critical elements are tested and included in the

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I interview process, the testing process, and also
2 into the realistic components of the assessment
3 center.
4 In the next few months, APD will havea -
5 new budget and within that budget request is a study
6 to determine workload measures and outcomes for our
7 sergeants.
8 Paragraph -- I'm sorry, Your Honor.
9 Paragraph 207 requires an 8 to 1 ratio of sergeants
10 to officers.
11 We believe that that ratio is a good

—
N

ratio. However, based on some of our preliminary

13 analysis, we need to make sure that our sergeants
14 are successful and that they need the resources to

15 be successful, also. That ratio may change but it

16 will not drop or become different than what is

17 required in paragraph 207.

18 In the past months, the Albuquerque

19 Police Department staff has had one-on-one contact
20 with the Los Angeles Police Department, Seattle

21 Police Department, and New Orleans Police

22 Department. I have personally made contact with the
23 leadership of these departments, as well as Las

24 Vegas Metropolitan Police Department, Portland,

25 Oregon police Department, and Oakland Police
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ol Departments. Together, we share our concerns about
2 the successful implementation of these agreements.
3 The men and women of the Albuquerque
4 Police Department respond to approximately 2000
5 calls for service each day. These calls involve
6 various situations. Some may appear to be minor,
7 some may be serious. In domestic violence calls,
8 | there may be underlying issues, from living
9 conditions, the people needing food, or other
10 special needs, child care issues, or mental health
11 issues.
12 Officers are required to take the
13 appropriate action given the facts of the case. The
14 officers are charged with the responsibility to
15 investigate each and every domestic violence call.
16 If a battery or assault takes place, an arrest is
17 warranted. Officers have a duty to remove the
18 threat and take the appropriate enforcement action
19 at these domestic violence situations.
20 One of the things that we will continue
21 to do is continue to evaluate all of our use of
22 force investigations. In my dealings with both Las
23 Vegas, Portland, Oakland, and Los Angeles, their
24 original model has changed. The goal is to have
25 successful, complete, and accurate use of force
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1 _ investigations. _
2 We are now into the sixth-month policy
3 review process. I want to make it very clear to the
4 Court, under the definitions within the CASA, on
5 page 12, definition GG, is a very clear, concise,
6 and easy to train definition of aneck hold. And in
7 that definition, which was carefully crafted by the
8 parties, it says "Neck holds shall be considered
9 lethal force." Our police policy does not deviate
10 from that definition.
11 The Use of Force Policy was approved by

—
No

the parties and the Monitor in January of 2016.

13 There has not been, nor has there been, any
14 resistance by the Albuquerque Police Department when
15 it comes to the definition of a neck hold.
16 APD continues to acknowledge the hard
17 work and the input from the many volunteers who are
18 helping the Albuquerque Police Department through
19° the reform process.
20 The volunteers include members of the
21 CPOA, the POB, the CPCs, MHRAC, all of which we
22 consider to be very valuable partners and a very

@ 23 important part of our community and to the APD
24 reform process.
250 Your Honor, the Monitor and his team

 

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1 will be in Albuquerque for another site visit in

2 June and we look forward to working with Dr. Ginger

3 and his team as we continue to move forward in our

4 reform process. Thank you, Your Honor.

5 THE COURT: Thank you, Chief.

6° Ms. Hernandez?

7 MS. HERNANDEZ: Good afternoon, Your

8 Honor. Thank you for your time this afternoon.

9 And, also, thank you to the parties and the Monitor
10 and -- as well as members of the community that have
11 been with us today and for taking the time to do
12 that.

13 I know that there has been a lot of
14 information presented today and I couldn't possibly
15 —_ address all of it but I want to spend a few minutes
‘16 talking about the -- the progress the Department has
17 made, some of the challenges we are facing, and our
18 plan as we move forward as well as answer some of
19 the questions the Court has already raised and any
20 additional questions that you might raise, as well.
21 I first want to make -- want to start
22 by saying that while we recognize that there is a
23 significant amount of work ahead, I think that there
24 has also been a lot said today about the tremendous
25 progress that has also been made.
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1 _ And I wanted to -- to say that we

2 really appreciate Dr. Ginger and the other parties

3 working together with us on a couple of things in

4 the format of this report, which Mr. Saucedo also

5 referred to. Those two things were starting to |

6 include the tables that would show, in terms of the

7 percentages, where we are. Because, as -- as you

8 know, and as -- as the monitoring team has been

9 working on overtime, our bar is 95%. For every
10 paragraph in the settlement agreement, we are trying
11 ~~ toreach 95% compliance. And in -- in past reports,

—
No

the -- the format did not show that percentage, and,

13 so, the parties and the monitoring team discussed
14 that together, and the Monitor agreed, which we
15 thought was very helpful, to start including the
16 tables that would show exactly where the Department
17 is. So that was helpful to us. We can see -- start
18 to see progress -- are we at 60%, 80%, 90% -- and
19 how much farther do we need to go.
20 The second portion that was helpful
21 were those recommendations. Mr. Sauceda referred to
22 the paragraph of the settlement agreement that
@ 23 discusses those recommendations and we appreciated
24 that those have been added in a new format to this

25 report. So that was very helpful. We also
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1 appreciated Dr. Ginger including a -- a chart like

2 this in his report, that shows the trend over time.

3 This -- this chart is slightly different than the

4 one that Dr. Ginger has. I think the only

5 difference being that, as you'll see in the chart --

6 I'm sorry, the table at the bottom that shows

7 percentages. Dr. Ginger's table -- or bar chart,

8 I'm sorry, also showed percentages. We used

9 paragraph -- numbers of paragraphs. So it shows the
10 same thing but that is a small difference.
11 And this -- this shows the trend over
12 ‘time, which -- I wanted to just point out a couple
13 of things that you can see from this. The --
14 Mr. Saucedo pointed out what I thought was a very
15 important point that I wanted to -- to reiterate,
16 which is this fifth reporting period that you see,
17 from August of 2016 to January of 2017, is really
18 the first -- I think Mr. Saucedo referred to it as
19 | the first opportunity to really start to see what
20 the operational compliance looked like. And the
21 reason for that is because, starting in August of

22 2016, that's the first reporting period where the

23 policies were all completely in place and all of the
24 training had been completed.
25 So starting in August, those steps --

 

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foundational steps were already complete and, for
the first time, this reporting period would start to
show how is that affecting day-to-day operations out
on the street with police officers.

So this is where we get to see the
first look of what the foundational steps have
started to -- to affect. And I also want to say, on
behalf of the City and the Department, how much we
appreciate the -- the comments here today from the
Department of Justice and also from the Monitor
that -- that do recognize that -- that effort and
that progress.

I know that there were comments about
the Department of Justice's positive outlook and the
positive trend that this shows, and that these types
of efforts are clearly not the -- they don't happen
by themselves but they are results of sustained
effort by the City and the Department which are
absolutely happening.

Dr. Ginger also -- I appreciated the --
the comments that he made that -- that the
Department -- I think some of the things he said
today, that the Department has not ignored its
obligations here, that they are trying to implement

them, and they are -- we are just not quite there

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1 _ . yet, which we acknowledge. We still have work to
2 do.
3 And another thing that Dr. Ginger said
4 - that we appreciated was that the Department is doing
5 those things but just needs to grow them. In other |
6 words, do them more, do them more consistently,
7 which is what we'll talk about a little bit more, in
8 a few minutes, on the supervisory use of force
9 investigations.
10 And, so, I think that all of those
11 comments do show what this chart shows, which is the
12 trend over time is what we would hope, and what we
13 would expect, after those first four sort of
14 foundational time periods, we're now truly in
15 operational mode. Now we need to build some
16 momentum, which is what we are going to be working
17 on.
18 If we look -- I'd like to turn to what
19 the report really highlights as our next big area
20 to -- to address, which is how supervisors are
21 reviewing uses of force. And this chart is really
22 just to provide a little bit of context for what we
23 are talking about. This is just meant to provide
24 background information and overview. What it is, is
25

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a visual representation of the number of calls that

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the Department would have received during that

 

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reporting period, with each figure of a person
representing 1,000 calls. And what you -- so the
total during that reporting period, as shown here,
is over 227,000 calls for service during the
reporting period.

In that final line, at the far right,

what you see is the visual representation of how

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many of those calls involved some use of force and

—
So

the number shown here is 248.

—_
—

And, so, while we're talking about how

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No

the Department is reviewing uses of force, which is

13 important -- it's absolutely essential to this

14 reform effort that has our focus -- but I thought

15 that it would be important to take a step back and

16 provide the Court and the community with a larger

17 context of where those uses of force fit within the

18 overall work that the Department is -- is doing

19 every day. .

20 So we see that during that reporting

21 period, of the over 227,000 calls, approximately 248

22 would have involved some use of force. Those are
@ 23 the ones that are reviewed by a supervisor. You

24 see, in the box on the bottom on the right, are the

25 serious uses of force and that number is 34. So of

 

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1 the 227,000 calls for service, approximately 34
2 would have involved a serious use of force, which is
3 defined by the settlement agreement, and that is not
4 reviewed by a supervisor. That goes to the next
5 level, and Internal Affairs and CIRT would be
6 involved and there would be a heightened level of
7 review on what the settlement agreement defines as
8 "serious," and those are nine specified categories
9 of force.
10 So about a 10th of a percent -- a 10th
11 of 1% of the calls for service during that reporting
12 period involved any use of force, which means that
13 over 99% did not. And so that is just background
14 information.
15 So it's of the 248 that the monitoring
16 team would have taken that sample of 16, and -- and,
17 during that review of the sample, it did show that
18 there is significant work left to be done when it
19 __ comes to how supervisors are reviewing uses of
20 force.
21 A few things that I think it's
22 important for the Court, and -- and the community,
23 to know, that we are working on, even since then,
24 would be that -- as you've stated, this reporting
25 period ended January -- a few things have happened

 

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in the interim, or just around that time, that we

 

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think will continue to help in this area. There was
an updated supervisor training that happened in
December of 2016, and, so, just at the end of this
reporting period, supervisors were receiving
additional training on what they should be looking
for when they are conducting these use of force

investigations of their officers' work.

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Part of what that training included was

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So

introducing new job aids, which is essentially a --

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b—

a new type of form or checklist or guide that would

—
No

help the supervisors as they're doing these reviews,

13 because we're introducing a whole new way of doing

14 these and we want to -- we want to help supervisors

15 understand what to include, what to look for.

16 And part of what we see is that they ©

17 have -- because they have not been doing them that

18 way in the past, they're still learning how to do

19 them and we acknowledge that. And so I think that,

20 with the introduction of that new checklist form,

21 job aid in December of 2016 -- which was just at

22 the -- almost at the end of this reporting period --
@ 23 so we would not have been able to see yet how that

24 is going to impact the supervisory reviews. So I

25 think that that will show a positive impact as we

 

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I. move forward with the next report.
2 The other thing that has happened in
3 the interim time is that there is training going on
4 for officers to act as a refresher course on the
5 original use of force training they received last
6 year.
7 So, as you'll recall, last year,
8 between January and June, all of the officers went
9 through the use of force training. There was --
10 there's a new refresher happening now, between -- it :
11 was January to March of 2016, so it's just
12 concluded -- where they -- all of the officers again | @
13 go through a shorter version of that that's meant to |
14 be arefresher. So that also has happened since
15 this reporting period that would not yet be
16 reflected in these results.
17 So the -- the efforts continue. And we
18 acknowledge the work that still needs to be done,
19. _ but I just wanted to point out those two things
20 specifically for the Court so that you would know
21 what we're doing to try to address some of these
22 issues. Because while -- of the 16 that the
23 monitoring team reviewed, I think that table showed | @
24 81% of them were within the guidelines of the
25 settlement agreement, that means we haven't hit the

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_ 95% yet and, so, these are the kinds of steps that

 

—

we're taking to try to kind of push beyond and we
take very seriously the issues that were raised in
those.

And so one of the things that I think
that Ms. Koenigsberg mentioned was Deputy Chief
Garcia's new role. He -- he is still a Deputy |

Chief, the same role -- same title that he had

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before but he's been given the specific assignment

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of focusing full-time on the operational compliance

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under the settlement agreement, which means that the

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No

day-to-day things he typically did, someone else

13 will be assigned to do those so that Deputy Chief
14 Garcia can focus full-time on these issues.

15 So the kinds of things like really

16 drilling down on what the monitoring report raises
17 as concerns, figuring out what is at the root of

18 those problems, what do we need to do in terms of
19 our systems to make sure that those are not

20 recurring problems, those are the things that Deputy
21 Chief Garcia will be able to focus on.

22 And we thought that someone at that

23 level with that type of command control over

24 officers in the field and all of their chain of

25 command would be the appropriate person.
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1 And as you've heard from the Amici over
2 several meetings, Deputy Chief Garcia has -- has
3 worked very, very closely with a number of groups
4 involved in this process and has done really
5 phenomenal work.
6 And so we thought, because of his
7 position and also because of his personal efforts in
8 this case and his history with this case, he would
9 be the appropriate person to do that. So we're
10 excited about his new ability to focus completely on
11 that because we've reassigned his -- his day-to-day
12 responsibilities.
13 So those are -- that's, again, just
14 another thing that we are doing to focus on this
15 area because we recognize that if we can really make
16 progress on the supervisory use of force reviews
17 that that's going to have just a tremendous impact
18 on -- on our progress and our compliance because it
19 will go toward what Dr. Ginger is describing about
20 catching and fixing our own mistakes, which is what
21 our goal is.
22 There was also some discussion of the
23 Force Review Board and Dr. Ginger mentioned that
24 it's still a relatively new process and that the
25 members are still getting their footing.

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Deputy Chief Garcia is a member of that

 

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and, so, I think that helps, as well, that his -- he

will be directly involved in the Force Review

Board's work and looking at what we can be doing to
really focus their efforts, including what to do

when you identify a problem, you know, what kinds of
recommendations should be going back to -- to other

parts of the Department to deal with that.

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Another thing that I wanted to touch

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on -- Mr. Sauceda mentioned this, as well -- the

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outcome assessments in paragraph 298. Dr. Ginger

—
No

is -- has been working very hard on those and the

 

13 Department's been working alongside him to make sure

14 he has the data to -- to complete that review. And

15 I think all the parties and the monitoring team are

16 really excited to see the results of that because it

17 will be another way of looking at the efforts.

18 One of the things that Mr. Saucedo said

19 is that -- he mentioned the pieces that have been

20 being put in place in terms of policy, training,

21 recruiting, civilian oversight, and that all of the

22 pieces now just need to start working together and
| @ 23 that we are already seeing results. But this

24 outcome assessment, for the first time, is where

25 we're really going to see those quantified.

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1 _And some of that you saw in -- in

2 Ms. Espinoza's presentation in terms of

3 officer-involved shooting numbers or firearm

4 discharge numbers. I have a couple of slides that

5 will just show examples. You know, this does not,

6 at all, try to predict what the outcome assessment

7 will show because it's a different timeframe and |

8 stuff like that. But this is just an example of --

9 with the data we have been gathering, we pulled some
10 data just to compare January through March of 2016
11 and compare that to the same three-month period in
12-2017.

13 So the dark green shows the 2016

14 timeframe and the light green shows the 2017 of the
15 same months. And this just shows different

16 categories of force and it compares the numbers of
17 uses of force in those different categories. And,

18 as you can see, most of those show that there are
19 far fewer of those types of uses of force in 2017

20 _ than in 2016.

21 It compares certain hand techniques,

22 takedowns, ECW usages, so -- this is just meant to
23 be an example to show that we're trying to gather
24— all of our data in one place so that comparisons are
25 more easy to access and make and learn from.

 

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And paragraph 287 lays out a whole list
of different types of outcomes that the Monitor will
be looking at, and this was just meant to show a few —
examples.

We also did a slide that compared those
same three months in 2016 and 2017 of incidents with

citizen injury. And you see that that -- in those

' timeframes, it went from 55 incidents in those first

three months of 2016 to 22 in the first three months
of 2017.

Officer injuries, we did a similar
comparison of the same time periods and that went
from 26 down to 10.

So, again, those are just meant to be
examples of, you know, the types of things that the
outcome assessment will start to look at and -- and
we're looking forward to seeing that because I think
that, while, you know, the sort of more technical
compliance is important, I think that -- when the
negotiations happened, I think that the Department
of Justice and the City recognized that outcomes was

also -- outcomes and results were what we were

really looking for and I know that we are very much

looking forward to seeing what that -- what that

will show.

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1. I also wanted to talk a little bit
2 about our plan as we go forward. As I mentioned, it
3 was very, very helpful to have this report include
4 the extensive recommendations that it does. Those
5 are throughout the report and, then, Dr. Ginger also
6 put them together in a list at the end. |
7 _ And we have already, at the Department,
8 been taking those and assessing them and, you know,
9 dividing them into subject area so that we can |
10 assign them to different people, evaluating them to
il see where they might overlap or -- or be related,
12 and, then, developing some priority objectives that
13 | would relate to each of those recommendations. |
14 And one of things that we plan to do
15 is to -- to really use the next several months and
16 our weekly meetings with the parties and the Monitor
17 to keep them informed about what our plans are on
18 implementing those recommendations so that we can
19 get feedback from the parties and feedback from the
20 —S-— Monitor about any ideas or suggestions they have as
21 we move forward and, also, to -- to make sure that
22 there's an opportunity for the monitoring team to
23 let us know. And like they have told us all along,
24 they are only recommendations and we recognize that
cect 2 . and we have to ultimately decide which to implement

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1 ornot. But that feedback is incredibly helpful.

2 And so that's what we hope, over the

3 next several months we can do a lot of with the |

4 parties and the monitoring team, is making sure that

5 they know how we are implementing those

6 recommendations so that there can be dialogue about

7 that before the next reporting period and before the

8 next report comes out.

9 We -- we prepared a couple of slides,
10 and I won't go through them or read them here, °
11 but -- because -- just for the sake of time, and

—
N

_ this PowerPoint will also be available publicly. .

13 But we've already started to look at which of those

14 recommendations we can implement now. And so we

15 have started working on those and they'll be listed

16 in this PowerPoint that -- that we'll make publicly

17 available.

18 Some of these are very short, or

19 relatively short-term, and so we hope to accomplish

20 as many as we can before this current reporting

21 period ends at the end of July. There are some that

22 will just take longer than that. There's a natural

@ 23 progression that is built into this and we -- we

24 can't do it all overnight, and, so, some of those

25 will just have to continue through the year and they
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1 will not be done in time.to be reported for the next
2 reporting period.
3 As you know, we're in a reporting
4 period, now, that will cover from February through
5 July, and, then, that will be included in the report
6 that comes out in November. And so we'll get as
7 much done on the recommendations as we can before
8 that time period ends, but even if it's not reported
9 in the report that comes out in November, the
10 Department is committed to continuing those efforts
11 and those will have to be reported in a reporting
12 period in 2018. So our -- that's where we are right
13 now. And I think, as the Chief said, the Department
14 is completely committed to this process.
15 And the -- I think that the comments
16 today, from both the Monitor and the Department of
17— Justice, show that, as far as concerns -- and I know
18 you raised this question, too -- where does this
19 idea of deliberate noncompliance come from. I think
20 from the comments here today, it's very clear that
21 it certainly does not relate to commitment to the
22 overall process or any unwillingness in that regard,
23 at all. The -- the trend is -- is clear, from
24 the -- the compliance findings over time, and there
25 were two issues that came up that were very specific

 

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ol issues, the neck holds and the -- the Special Order.
2 And I think that the comments today helped to put in
3 context, I believe, that concern of deliberate
4 noncompliance, that there were issues where there
5 had been a lot of discussion back and forth, |
6 particularly on the neck holds, and so I don't think
7 that, after today, there -- there does not seem to
8 be any question or concern about whether the overall
9 commitment is -- is strong, because it is and I
10 think that -- that Dr. Ginger and the Department of
11 Justice said that. You heard that from Mr. D'Amato,

—
No

as well.

13 On those two particular issues, I think

14 that Mr. Saucedo did an excellent job of describing
15 the neck holds discussion that had happened, and

16 Chief Eden touched on that, as well, that the

17 definition of "neck holds" has never changed. It's
18 been in the settlement agreement from the beginning
19 and our policy has also prohibited it that entire

20 time. So we have never tried to allow neck holds by
21 policy. That has never happened.

22 Instead, there was a lot of discussion

23 about when will certain contact cross the line into

24 actually qualifying as a neck hold, constituting a

25 neck hold. And so that was the discussion that took _
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| place.

And so we -- we don't believe that we
were deliberately noncompliant on that issue, but I
think that -- that the conversation here today has

shown that there was -- there was just a lot of

2

3

4

5

6 discussion on it. And -- but what's very clear is
7 that the policy has always prohibited it. We've

8 never tried to -- to allow it by policy. And I

9 think that, on that point, Mr. Sauceda said that --

10 I'll try to find his -- I think he said that he had

11 not seen that the Department had, in any way, tried
12 to back away from their commitment to prohibit them. ; @
13 So we -- we have certainly made every

14 effort to comply on that issue. That policy does
15 still need to be clarified so that it's clearer when
16 certain contact with the neck might cross over into

17 being a neck hold.

18 I was also able to get some information
19 on the Special Order, and you -- you raised a very
20 direct question about whether or not the Department

21 had ever denied that it had issued it. And so I
22 - wanted to address that very directly. And I was

23 able to find the -- the e-mails where the request @
24 came in and it looks like, from the outset, there
25 was confusion about what the monitoring team was

 

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1. asking for because their -- their request came in on _
(2 February 24th and it asked Director Slausen to

3 "Please forward copy of Special Order 6-75." And

4 the Special Order that deals with the video review

5 is Special Order 16-73.

6 And, so, it -- it was a different

7 number, which I think was just a mistake in the

8 request, but that did cause confusion when the

9 Department was trying to find it because they were
10 looking for a 6-75 when, as it turns out, what the
11 monitoring team wanted was 16-73. So that took some

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time to -- to determine.

13 We -- we first sent a Special Order
14 16-75, which dealt with a different topic, and we
15 just couldn't tell yet what they were asking for.
16 And, then, on -- three days later, on February 27th,
17 the monitoring team clarified their request and just
18 said, "Please just send us all Special Orders you've
19 issued that relate to the Settlement Agreement."
20 And, so, on March 2nd, we sent all the Special
21 Orders for a certain time period just so they would
22 have a complete set.

@ 23 So it looks like within approximately a
24 week of the request, all Special Orders were
25 provided and if there was any confusion, it was just

 

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1 - because there was some mis-numbering that I'm sure
2 was inadvertent. And, so, that was -- I do not
3 believe that there was ever a denial that the |
4 Special Order had been issued, I think it was some
5 confusion over the numbering. So I think that that
6 answers the Court's question on that.
7 THE COURT: It does. Thank you.
8 MS. HERNANDEZ: I don't have any other
9 specific comments and would answer any questions
10 that the Court has.
11 THE COURT: When Mr. Cubra was here, he
12 raised a topic that we've heard about, now, a couple
13 of times and that was the order on the use of force
14 utilization. It was -- it was being
15 underutilized -- the use of force was being
16 underutilized. And we talked about this the last
17 time, and I asked who had authored that and when.
18 And Mr. Cubra said we still didn't know. I don't
19 recall getting an answer to that, but where are we
20 __ with that?
21 MS. HERNANDEZ: On the answer to that
22 question specifically?
23 THE COURT: Yes, ma'am.
24 MS. HERNANDEZ: Your Honor, that report, I
25 believe -- or that memo that went out to officers

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was June of 2016. And it's my understanding that it
was authored by the sergeant who was over CIRT at
that time, and it was authored based on some cases,
that the Force Review Board had reviewed, that found
that, in some cases, a higher level of force ended
up being necessary in the end because the police
officer had not used a lower level of force early on
that might have contained the situation more quickly
and, so, any hesitating to use any force at all,
that escalated the situation and more force was
needed later.

So that was the purpose of the memo.
It was trying to remind officers, use appropriate
levels of force from the beginning of an
interaction. That was the purpose of the memo.

There were some concerns by Amici that
the -- that it was encouraging officers to use more
force, and that -- that was never the intent. The
intent was just to tell them, don't hesitate to use
appropriate levels of force when needed for your
safety and for the safety of the -- the person that
you're interacting with.

The Department decided that the -- the
best way to address that issue, going forward, was

through its regular use of force training,

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1 refreshers on use of force training. So there.has
2 not been a specific second memo that went out to
3 follow up on it. It has been done through their
4 regular trainings about what the appropriate levels
5 of force should be in different situations.
6 THE COURT: Thank you. Mr. Harness talked
7 about the Chief responding to recommendations from
8 POB and that's been one of those issues that has
9 lingered. And he said, within the last 60 days --
10 which is not in the time period we're talking
il about -- that the Chief had begun to respond. Flesh
12 that out for me a little bit, please.
13 MS. HERNANDEZ: I'd be glad to do that,
14 Your Honor. There -- this has been one of those
15 issues where there has definitely been a lot of
16 dialogue back and forth to try to get all of the
17 parties on the same page about what -- what each of
18 their responsibilities are. And that's never been
19 because of an unwillingness on the part of APD. APD
20 has always wanted to comply with these but I think
21 there were legitimate questions about when those
22 letters were supposed to be sent and what levels of
23 detail they needed to include.
24 And the -- the reason for that
25 confusion and the need for the discussion was

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because there's -- there are paragraphs of the
Settlement Agreement that deal with this issue.
There's also an ordinance passed by the City Council
that establishes the Police Oversight Board and had
some overlapping, but not identical, obligations.
And then -- and so -- and then there were also |
different categories, such as policy
recommendations, recommendations for discipline,
and -- there's one other category -- it might be --
there's another category of Internal Affair
investigations where the POB would be weighing in.
And, so, between those three
categories, it was not clear when the Chief was |
supposed to send these letters because there is one
of those categories where the ordinance does not
require it and I don't think the Settlement

Agreement does, either, but two other categories, it

does. So it was -- it was genuinely a

misunderstanding among the parties about whether
those letters had to go in all cases.

And, also, there was an issue where --
because the Department was actually not disagreeing
with a lot of the different recommendations, letters
were not going in those cases because the Department

thought, "If we're not disagreeing with the

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1. recommendation, we're not going to send a letter,"
2 but there were certain of those cases where the
3 Police Oversight Board was expecting some additional
; 4 explanation and that had not been occurring yet.
5 And so those were some of the issues
6 that needed to be fleshed out. But we were always
7 willing to discuss it and I think we've now reached
8 a point where there's a common understanding about
9 what -- what types of letters require a response and
10 when. And, then, the -- the new issue became the
11 level of detail, so we also reached a recent
12 agreement that the Chief would begin putting
13 _ additional detail.
14 There was some concern initially,
15 because these are personnel matters, that -- not all
16 of the information is -- is always publicly produced
17 in those because it's in the personnel file and has
18 te do with evaluation and discipline, that there was
19 still some concern about what level of detail was
20 - appropriate. And, so, there have been discussions
21 —_ about that and, I think, a recent agreement on that
22 level of detail, as well.
23 THE COURT: Thank you. And I think the
24 last of my questions related to a comment from
25 Mr. Miera from MHRAC about the use of on-body
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1 cameras in the interactions with folks that he
2 represents. Where are we with that?
3 MS. HERNANDEZ: Your Honor, I'm looking to
4 Ms. Jacobi because she's been much more involved in
5 that process. If it's acceptable to you, I can ask
6 her to answer that question because I know she's
7 been directly involved in it, but it's my
8 understanding that policy has been revised, with
9 input from MHRAC and other groups, and is now
10 circulating with the parties.
11 THE COURT: Ms. Jacobi, I'm glad to hear

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from you if you have something to add other than

13 that.

14 MS. JACOBI: Thank you, Your Honor. That

15 is essentially correct. Earlier this year, APD and

16 the parties met with several representatives from

17 MHRAC to work on language that has been

18 incorporated. And I -- I recall that it was

19 approved by the individuals at MHRAC who

20 participated in those talks. That policy, right

21 now, is just waiting final approval on how the

22 supervisors do their monthly reviews of videos,
@ 23 because that -- the same policy covers both issues,

24 and, so, it'll be rolled out as soon as that issue

25 is concluded.

 

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1 THE COURT: Good. Thanks. Ms. Hernandez,
2 I didn't have any other questions. I -- just a
3 little shout out to Ms. Espinoza and her PowerPoint.
4 Mr. Cubra suggested that the default in dealing with
5 folks in mental health crisis was jail, and your --
6 the first, I think, of your slides suggested
7 otherwise and I thought that was effectively done.
8 | Anything else from the City?
9 MS. HERNANDEZ: Your Honor, just one point
10 to address a question you had raised earlier about
11 the -- the Special Order on the review of videos.
12 And I just did want to make clear to the Court that
13 the Settlement Agreement itself -- and this is in
14 paragraph -- I'm sorry, 220(G) -- it only says that
15 supervisors are to review recordings regularly. So
16 it doesn't specify the number of the reviews and,
17 so, the Special Order that went out did not
18 contradict the Settlement Agreement, it -- it did
19 differ from the policy.
20 And so that is the part where we
21 have -- as you've heard already, it was a workload |
22 issue because what was in the policy proved to be
23 completely unworkable for the sergeants, and that
24 has been discussed between the parties and the
- 25! monitoring team at length. But I did want to make

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sure that you knew that it did not contradict the
Settlement Agreement.

And we've also worked together with the |
Monitor and the other parties to talk about what
kind of process should we use to get an expedited
review of Special Orders like that, that -- so that
they don't have to go through the entire policy
process that can take many months, because it was a
very true operational issue that would have really
impeded the sergeants! ability to perform all of
their other supervisory responsibilities.

But the main point I wanted to make
just was that the Settlement Agreement did not have
anything that would be contradicted by that Special
Order.

THE COURT: So are you taking the
position, then, that if it doesn't contradict
something in the CASA but it does go contrary to
something that was in policy that everyone's agreed
to, that the Monitor doesn't need to be alerted to
it?

MS. HERNANDEZ: No -- no, Your Honor.
That would not be our position. This -- this
Special Order should have been discussed with the

Monitor and the parties before it was issued and we

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1 now have a process in place so that that does not.
2 happen again.
3 THE COURT: That's what I wondered. Thank
4 you. Thank you very much. Dr. Ginger, this is your
5 opportunity to respond to things you've heard
6 throughout the day. /
7. MR. GINGER: Pardon me, Your Honor, I'm
8 down in the back.
9 THE COURT: You looked, as you got up, as
r 10 I feel. I'm having some back issues myself. So
11 I'll stand while you take the podium.
12 MR. GINGER: I apologize for my periodic
13 absences, your Honor, but I had to get up and walk
14 around once in a while -- back in the emergency
15 room. Obviously, we will stand by our report. I
16 think you heard a lot of good information this
17 afternoon that points us on our way forward. That's
18 excellent.
19 You know, we had the issue with
20 Special -- with the Special Order. We tried, as
21 best we could, to track it down. Proved to no avail
22 and we'll see. where we go from here. But the
23 information in the report is accurate for the
24 reporting time.
25 THE COURT: All right. So, actually,

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_ during one of your absences, I touched on this

 

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deliberate indifference and deliberate -- I don't
know -- you used the adjective "deliberate" twice --
noncompliance -- and you didn't ever go there in
your remarks this morning -- but I actually asked
Mr. Saucedo about that because he didn't, either.
One of the Amici did, I think.

MR. GINGER: Right.

THE COURT: But you are -- well, after

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So

reading this report, I can't say you're a man of few

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words, but -- but you have always chosen your words

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carefully.

13 MR. GINGER: Yes, sir.

14 THE COURT: And, so, that -- that phrasing
15 jumped out at me, as it did others, because it -- it
16 speaks to an attitude, and I -- I -- I can't have
17 that attitude. This process can't bear that
18 attitude. And so I've heard people address it.

19 today, but do you stand by that and, if you do, why

20 didn't we talk about it this morning?

21 MR. GINGER: I do stand by it, Your Honor.

22 The follow-up on my part is to find out if they've
@ 23 stopped doing what they had been doing. And if —

24 that's the case, then it looks like we've worked

25 that out, that it's not going to happen anymore.
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1 I reserved that phraseology for things
2 that were either highly critical or had been asked
3 for by the monitoring team over a period of time and
4 never showed up. That Special Order 75 is a
5 critical group. There are other things that we had
6 to remind APD about on three occasions and never
7 happened. That was the hack to the website to be
8 able to file anonymous complaints that -- that is
9 required by -- to be serviced by the CASA.
10 So I was very careful in my language.
11 It sounds to me like we're starting to fix most of
12 those problems and that's great. If that's the
13 case, they're fixed and I'll report them as such.
14 As far as I'm concerned -- as I stand
15 here today, I'm still concerned about asking several
16 times and not getting responses. That was hooked
17 in, if you recall, to the -- one of those
18 noncompliance findings was hooked into the
19 deliberate shutdown of the IRS system without notice
20 to the monitoring team, which we also viewed as
21 highly critical. So I'm concerned about it. We'll
22 continue to monitor it and I'll continue to report
23 it.
24 I hope it's over with. I hope we don't
25 have to remind the City repeatedly to get things
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igned by Deborah Trattel (301-338-907-3060)

 

 

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1 done that are required by the CASA. That will be a
2 good thing. But as it stood the day that report was
3 written, those things were accurate.
4 THE COURT: As it relates specifically to
5 the Special Order, you heard Ms. Hernandez address
6 that today and she said it was a function of
7 miscommunication, perhaps that initiated with you,
8 you cited a wrong number or something and -- in an
9 e-mail. That's what she said just a moment ago.

10 MR. GINGER: Right.

11 THE COURT: And that could well explain

—
No

them not responding immediately, or not responding

13 over time, as they continued to track down this

14 Special Order. Are you -- given that explanation,

15 are you still settled on this -- this deliberate

16 issue, or is it --

17 MR. GINGER: I'll look into it, Your

18 Honor. Obviously, I will. That's my job. My

19 people are fairly well trained. All of these people

20 have been through this before. They know what to

21 ask for and how to ask for it. We'll look into it.

22 I'm not convinced the explanation is accurate, but I
@ 23 . don't have the facts on the ground right now to make

24 it a -- a determination one way or another. What we —

 

25 do know is that we specifically asked, not just by |
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1 category, but by -- or by number, but by category
2 and we were provided information that was incorrect. |
3 So we'll -- we'll have to follow up on it.
4 THE COURT: All right. And I'd appreciate
5 being in that loop when you follow up.
6 MR. GINGER: Yes, sir.
7 THE COURT: Remind me when the outcome
8 assessments are due, please. , |
9 MR. GINGER: The draft should be at the
10 City -- 4 June, I believe is the day. The week of
11 4 June. | |
t2 THE COURT: And then final dissemination?
13 MR. GINGER: It depends on how long the
14 City thinks it needs to go through and comment, and
15 we'll revise accordingly and get it out. It's a top
16 priority right now.
17 THE COURT: Allright. Anything else,
18 Dr. Ginger?
19 MR. GINGER: No, sir.
20 - THE COURT: Mr. Saucedo, you had something
21 else? |
22 MR. SAUCEDO: Yes, Your Honor. We
23 appreciate Ms. Hernandez's offer to keep the parties
24 informed about the action steps that they're taking
25

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going forward during our weekly and our monthly

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meetings. We would ask, Your Honor, that the United

 

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States have an opportunity to respond to the written
action plan that the Court has requested -- or
instructed the parties to submit within 30 days.

I -- I would ask that the United States
have an opportunity to respond if necessary, given
that we'll have some ongoing discussion about it on

the front end. But, if necessary, that the United

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States have 15 days to respond to that action plan.

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And I'm sure the Amici may appreciate, or would

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appreciate, also having that opportunity, as well.

THE COURT: That -- that's probably a good

—
NO

13 process. Let's do that. So, actually, get your

14 draft of your response and action plan to the rest

15 of the parties within 30 days and, then, at 45 days,
16 I'll expect something in writing.

17 MR. SAUCEDO: Thank you, Your Honor.
18 THE COURT: Anything else, then, from the
19 parties? Well, there's someone raising their hand
20 in the gallery. Yes, ma'am.

21 MS. BAUTISTA: Yes, sir. My name is Maria
22 Bautista. We filed an Amici --

23 THE COURT: Ma'am, come forward, please.

24 The court reporter can't hear you. Thank you. Yes,

25 ma'am.
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1 MS. BAUTISTA: Your Honor, my name is.
2 Maria Bautista -- B-A-U-T-I-S-T-A. Your Honor,
3 today, I stand before you, sir, to say --
4 THE COURT: Let me stop you. Let me
5 interrupt.
6 MS. BAUTISTA: Yes, sir.
7 THE COURT: I -- you said that you had
8 submitted an Amici letter. There is a process in
9 place where Amici presents letters, the parties
10 respond, and -- and time is set aside at these
11 meetings for that -- for that purpose.
12 I don't know about your submission of a
13 letter. I don't know whether you've abided by that
14 process or not. And my concern is that the process
15 becomes pretty open-ended if I just open the -- the
16 room up to comment and it becomes a City Council
17 meeting instead of --
18 MS. BAUTISTA: Yes, sir, and I'm not
19 trying to do that.
20 THE COURT: Did you abide by the process,
21 that's what I want to know?
22 MS. BAUTISTA: Sir, the -- may I have a
23 moment to say, please, sir, that -- we did file an
24 Amici brief and that our attorneys did follow the
25 process, and that the only thing that I wanted to

 

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_ say to you, sir, was that Mr. D'Amato today

 

be

insinuated that we were not here and I wanted -- he

said the community -- the Amici are not here and we

are. Sir, we've been here since 8:30 this morning.
Our attorney, unfortunately, was not

able to be here. He's the dean of the law school

and we did have appropriate representation on behalf

of our Amici, which is a large community group, and.

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we were not able to get ahold of the Court in time

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to be able to say we have another attorney who could

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speak on behalf of that particular group of Amici,

—
NO

just like APD Forward was able to speak, but we were

13 not able to because we're just lay people and I

14 wasn't sure how I would get that request to you.

15 And when our Amici group was not called.
16 and then I heard Mr. D'Amato say that the

17 community's not here and not interested, I -- I just

18 wanted to say that we are here and -- and we -- |

19 THE COURT: Who are you representing?

20 MS. BAUTISTA: I'm with New Mexico OLOC,
21 but our Amici group was several community

22 organizations; Los Ranchos, the New Mexico

23 Association of OLOC with LULAC, with the Martin

24 Luther King, Jr., Association. There was about 40.
25 ~~ of us that filed that Amici and today's the first

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1 day that our attorneys, who represented us, have not
2 _ been able to be here; Leon Howard, Dean Mathewson
3 from the Law School, and Mr. Steve Trujillo.
4 AllI wanted to say was, to let you
5 know that we are here and I'm sorry if we missed
6 some document we had to present to you in -- because
7 we -- we found out late that they weren't going to
8 be able to be here.

9 And I wouldn't have even approached the ©
10 Court, Your Honor, except that Mr. D'Amato said, |
11 "Well, it's. obvious that the community isn't here,"

12 and that's not the case at all. We're just lay
13 people. We've sat here all day and we did have a
14 representative to speak for us but when the name
15 wasn't called -- and, then, Mr. D'Amato says, "Well
16 they're not even here and they're not interested" --
17 | I think everybody here is interested, and I think we
18 all are community, and I think that that's not an
19 appropriate representation. And I just appreciate
20 _ that our -- our attorney was here to be able to fill
21 in but we didn't hear the name. We -- we didn't
22 know what to do.
23 THE COURT: Ms. Bautista, I'm glad I've
24 heard from you.
25 MS. BAUTISTA: Thank you.

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THE COURT: And, frankly, if you're

 

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represented by Dean Mathewson, he understands the
process. He has been a part of this process early

on. And you can go to the DOJ website or the
Albuquerque -- City of Albuquerque website and
figure out how it is exactly you're supposed to
present your -- your letter, engage the parties

beforehand, and then -- and then get on the agenda

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that way.
And, frankly, I didn't hear Mr. D'Amato

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say whatever -- what you thought you heard. I -- I

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didn't understand him to be disparaging about a lack

13 of interest on the -- on the folks from the
14 community.
15 On the other hand, he commended many of
16 those volunteers that have been there. So I
17 appreciate your comment and -- and, please, just _
18 follow that normal process -- that process we've
19 laid out and all agreed to and, if -- if need be,
20 we'll hear from you next time.
21 MS. BAUTISTA: I appreciate it very much.
22 Thank you.
@ 23 THE COURT: Yes, ma'am?
24 MS. MARTINEZ: Your Honor. When the

25 parties notified Counsel for the Amici process the
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1 Court sets in place to participate in these public
2 hearings, we provide that notice to the attorneys
3 and not to the actual Amici.
4 I am aware that Mathewson and a couple
5 of other attorneys who represent the coalition of
"6 organizations that Ms. Bautista belongs to did
7 receive that e-mail. But, going forward, what I
8 will endeavor to do is to ensure that we also reach
9 out to some of the representatives from these
10 organizations so that if they do want to be in touch
11 with their counsel, they have that opportunity and
12 are able to participate in the process as the Amici
13 _ who did today.
14 THE COURT: Thank you. I think that will
15 facilitate the process and facilitate the
16 | community's involvement. Thank you very much. Ms.
17 Hernandez?
18 MS. HERNANDEZ: Your Honor, I'm sorry.
19 You asked to be kept in the loop as we work together
20 with Dr. Ginger on clarifying what had occurred with
21 the request for that Special Order. Do you want
22 that submitted at a certain time in a certain way,
23 or with 30-day action plan? I wanted to make sure
24 that I kept you in the loop appropriately.
25 THE COURT: You know what, it's fine to

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just include it in your letter that you're going to

 

get to me within the 30 days. Allright. Thanks.
You know what, I'm -- the graphic is

still up from Ms. Hernandez's presentation, and that -

shows progress and it doesn't show the progress

hoped. We talked, early on, about a two-year

schedule and -- and understood at the time that that.

was an aggressive sort of position to take, and

So Oo IN DH AH FF WD NY

we've altered our expectation some in the meantime. .

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I -- I appreciate the airing of the

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concerns that people had relative to the IMR-5

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NO

today. I -- I heard some responsible sort of

 

13 feedback and -- and responses. I'm -- I continue to
14 be optimistic because that's my nature, but someone »
15 said, along the way today, "Now" -- "now the rubber
16 really hits the road and now is the acid test."

17 We've got policy. We struggled through that process
18 and we got there. And we've trained, and we had to
19 expedite the training but we got there. And so,

20 now, it's implementation, now it's -- it's

21 compliance on the ground, and I'm -- I'm encouraged
22 by the numbers. Shootings are down and use of force

@ 23 is down.
24 And, yes, it's true the use of force
25 is -- is miniscule in terms of the number of calls

 

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1 _ that the APD gets every year, I understand that. As
2 a percentage matter, though, it occurs to me that it
3 was a very insignificant percentage matter before
4 ~ DOJ got involved, it was just at an unacceptable
5 level.
6 And so we are -- we're -- we're all
7 pulling in the same direction, that's what everyone
8 says. I will continue to believe that until I see
9 proof otherwise. And, in the meantime, thanks
10 everyone, for their efforts. Thanks for the
11 volunteers. Thanks to those from the Department of
12 Justice, the City, APOA, Dr. Ginger. Of course,
13 I -- | appreciate everyone's efforts, and be careful
14 out there and I'll talk to you all soon. Thank you,
15 we're adjourned.
16 (Note: Court concluded at 2:53 p.m.)
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igned by Deborah Trattel (301-338-907-3060)

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STATE OF NEW MEXICO)
) ss
COUNTY OF BERNALILLO )

I, DEBORAH E. TRATTEL, Certified Court
Reporter for the State of New Mexico, hereby certify
that I reported, to the best of my ability, the
proceedings, 14-cv-1025 RB/SMV that pages numbered
1-79, inclusive, are a true and correct typewritten
transcript through Computer-Aided Transcription;
that on the date I reported these proceedings, I was
a New Mexico Certified Court Reporter.

Dated at Albuquerque, New Mexico, this
19th of May, 2017.

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1 _ STATE OF NEW MEXICO) a ‘

2 COUNTY OF BERNALILLO )

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4 I, KENDRA K. SUTTON, Certified Court

5 Reporter for the State of New Mexico, hereby certify
6 that I reported, to the best of my ability, the

7 proceedings, 14-cv-1025 RB/SMV that pages numbered

8 1-79, inclusive, are a true and correct typewritten

9 transcript through Computer-Aided Transcription;
10 that on the date I reported these proceedings, I was
1] a New Mexico Certified Court Reporter.

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No

Dated at Albuquerque, New Mexico, this
19th of May, 2017.

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. SUTTON, CSR, RPR
17 Expires: December 31, 2017

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